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                    EXHIBIT I
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        C89QsokC1
   1    UNITED STATES DISTRICT COURT
   1    SOUTHERN DISTRICT OF NEW YORK
   2    ------------------------------x
   2
   3    MARK I. SOKOLOW, et al.
   3
   4                    Plaintiffs
   4
   5               v.                              04 CV 397 (GBD)
   5
   6    THE PALESTINE LIBERATION
   6    ORGANIZATION, et al.
   7
   7                    Defendants
   8
   8    ------------------------------x
   9                                               New York, N.Y.
   9                                               August 9, 2012
  10                                               11:00 a.m.
  10
  11    Before:
  11
  12                         HON. GEORGE B. DANIELS
  12
  13                                               District Judge
  13
  14                                 APPEARANCES
  14
  15    DAVID I. SCHOEN Attorney at Law
  15         Attorney for Plaintiffs
  16    2800 Zelda Road, Suite 100-6
  16    Montgomery, AL 36106
  17    DAVID I. SCHOEN
  18    MILLER & CHEVALIER CHARTERED
  18         Attorneys for Defendants
  19    655 15th Street NW, Suite 900
  19    Washington DC 20005
  20    DAWN MURPHY-JOHNSON
  20    LAURA FERGUSON
  21
  22
  23
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  25
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   1              (In open court)
   2              THE DEPUTY CLERK: Mark Sokolow v. Palestine
   3    Liberation Organization 04 CV 397.
   4              Please stand and state your name for the record
   5    starting with the plaintiffs.
   6              MR. SCHOEN: Good morning, your Honor. David Schoen
   7    for the plaintiffs.
   8              THE COURT: Good morning, Mr. Schoen.
   9              MS. MURPHY-JOHNSON: Good morning, your Honor. Dawn
  10    Murphy-Johnson and Laura Ferguson on behalf of the defendants.
  11              THE COURT: Good morning.
  12              MR. FERGUSON: Good morning.
  13              THE COURT: Let me first hear from defendants with
  14    regard to the motion.
  15              MS. MURPHY-JOHNSON: Would you prefer that I come to
  16    the podium?
  17              THE COURT: It would probably be easier for the court
  18    reporter.
  19              MS. MURPHY-JOHNSON: Your Honor, this is a complex
  20    case that was filed in 2004 by 42 plaintiffs involving seven
  21    attacks that occurred around Jerusalem between 2001 and 2004.
  22              The complaint asserts 13 counts against the
  23    defendants. The first count is a Federal Anti-Terrorism Act
  24    claim. The second through 13th counts are a mix of non-federal
  25    claims and a variety of theories of liability and theories of
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   1    damages.
   2             The defendants have moved to dismiss plaintiffs
   3    non-federal claims based on the defendant's lack of capacity to
   4    be sued for those claims. Those non-federal claims are the
   5    second count which is wrongful death, the fourth count which is
   6    battery, the fifth count which is assault, the seventh count
   7    which is negligence, the eighth count which is the intentional
   8    infliction of emotional distress, and the ninth count which is
   9    the negligent infliction of emotional distress. The plaintiffs
  10    have also alleged in their papers that the sixth count, loss of
  11    solatium and consortium is a cause of action.
  12             Under Federal Rules of Civil Procedure 17(b)(3), the
  13    law of the forum state controls the capacity of an
  14    unincorporated association to be sued for non-federal claims,
  15    and here that's New York General Associations's Law Section 13
  16    under which an unincorporated association cannot be sued in its
  17    own name. And here the PA and PLO, which are unincorporated
  18    associations, have been sued in their own names warranting
  19    dismissal of those claims.
  20             THE COURT: Let me first start out with a basic
  21    question, because the PLO has been in litigation before and has
  22    taken different positions on that issue. Is it your position
  23    that you are conceding, admitting, acknowledging that the PLO
  24    is in fact an unincorporated association?
  25             MS. MURPHY-JOHNSON: Well, your Honor, for purposes of
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   1    this motion, yes.
   2              THE COURT: All right. That's not the way I phrased
   3    it, because for purposes of -- the real question is not for
   4    purposes of this motion. The real question is one of two: If
   5    that is what you acknowledge and admit, then that's going to be
   6    the PLO's acknowledgment and admission, and every judge is not
   7    going to have to go through this depending on what's to the
   8    advantage or disadvantage of either party in terms of what they
   9    want to assert. But this is really your affirmative defense.
  10              MS. MURPHY-JOHNSON: Right.
  11              THE COURT: So, you have to tell me whether or not you
  12    say that you're asserting this as an affirmative defense
  13    because in fact the PLO is an unincorporated association and
  14    acknowledges that and admits that and concedes that, and your
  15    position is there's significant evidence to support this court
  16    and every other court to make that determination for now and
  17    all time.
  18              MS. MURPHY-JOHNSON: Well, as you are aware, your
  19    Honor, historically, the PA and the PLO have argued that they
  20    should be recognized as states or as nations, and routinely
  21    every court that's addressed that issue has rejected that.
  22              THE COURT: Right.
  23              MS. MURPHY-JOHNSON: So, we have come to the point
  24    where we have to acknowledge that we are unincorporated
  25    associations because the courts refuse to acknowledge the
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   1    defendant's status as states.
   2              THE COURT: Well, let's put it this way, you have yet
   3    to convince a court that you have any evidence to demonstrate
   4    something other than that, so I'm trying to understand whether
   5    or not you -- again, this is your affirmative defense. It's
   6    not a question of everybody else has done it so I should do it
   7    too. It seems to me it's a question of fact, and either you
   8    say that that is the fact or you say that that is not the fact.
   9    It's a little awkward for me to have you argue that I should
  10    make decisions on that basis, not because you say it's so, but
  11    because you say other judges have assumed that to be the case.
  12              MS. MURPHY-JOHNSON: Could I seek the Court's
  13    permission to have Ms. Ferguson address this particular
  14    question?
  15              THE COURT: Surely. Whoever has a straight answer for
  16    me can address the question.
  17              MR. FERGUSON: Ms. Murphy-Johnson is at a disadvantage
  18    because her exposure with the case is a little more recent than
  19    mine. I have been representing the PA since 2007. I am
  20    familiar with the litigation history of the immunity question,
  21    so if I could clarify. Predecessor counsel, since the lawsuits
  22    began in the U.S. against the PA and the PLO, argue that the PA
  23    should be treated as a sovereign state.
  24              THE COURT: Right.
  25              MR. FERGUSON: And that argument really focused on the
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   1    PA rather than the PLO. There is not really a conceivable
   2    argument that the PLO has any even quasi-state status, but the
   3    PA, they argued, as a quasi-state should be accorded sovereign
   4    immunity. And the courts acknowledged -- the courts found that
   5    the facts just weren't there to support it. In fact, the whole
   6    conflict is over the PA's desire to be recognized as a state.
   7    That hasn't happened yet. So, when my firm came in to
   8    represent the PA and PLO, we recognized that there was no
   9    sovereign immunity defense, and that the cases needed to be
  10    litigated on the merits. So, that's what we've proceeded to
  11    do.
  12              So we are not making a state to a claim for the PLO.
  13    We are not making a state to a claim for the PA. If at some
  14    point the PA becomes a recognized state, that would be
  15    different, but here and now the PA is not a recognized foreign
  16    state.
  17              THE COURT: That's even not my issue. I am not asking
  18    you whether you contend or don't contend in this litigation
  19    that the PA or PLO is a sovereign state. That's not the
  20    question. The question is solely the question of whether or
  21    not -- I mean, it has been debated back and forth in almost
  22    every single case in which the PLO is in, not just the issue of
  23    whether it's a sovereign state, but because the determination
  24    of whether it is or isn't a sovereign state is not a
  25    determination that it is or is not an unincorporated
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   1    association.
   2              The only question before me is whether or not in fact
   3    the PLO and the PA have the status of being an unincorporated
   4    association. If that is your position, whether or not it is or
   5    isn't a sovereign state, whether or not for all purposes -- for
   6    purposes of service, for purposes of standing, for every other
   7    purpose -- if you are urging me to make the conclusion that you
   8    say is acknowledged by the PA and PLO, that you are in fact an
   9    unincorporated association.
  10              MR. FERGUSON: There is only a certain number of
  11    potential baskets the PA and PLO can fall within.
  12              THE COURT: I mean, I don't know.
  13              MR. FERGUSON: We are not a corporation, not a
  14    partnership, not a state.
  15              THE COURT: If you say so.
  16              MR. FERGUSON: Right. Yes, I think the best framework
  17    for these are sui generis entities is under the Federal Rules
  18    of Civil Procedure and unincorporated association, and that's
  19    how the courts have treated the PLO, how the Southern District
  20    of New York treated the PLO in the Klinghoffer case. That's
  21    how the District of Columbia has treated the PA and the PLO in
  22    the Kliman and Parsons case, as unincorporated associations.
  23    We accept that designation. And even the plaintiffs have
  24    acknowledged the PLO is an unincorporated association.
  25              THE COURT: Well, but that is where I have to start
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   1    because I have been asked basically to take judicial notice of
   2    this fact. While I can take judicial notice that the other
   3    courts in their resolutions of the issues that were before them
   4    said for the purpose of those issues that the PLO is an
   5    unincorporated association, that isn't quite judicial notice.
   6    I'm not sure that it's appropriate for me to take judicial
   7    notice that that is in fact true because another judge has
   8    ruled that way. If that was the case, I couldn't disagree with
   9    my colleague next door because they ruled one way and I've
  10    decided to rule a different way. I can take judicial notice
  11    that they've ruled that way, but I can't take judicial notice
  12    that that's either a fact independently or that that is the
  13    legal consequence for all time in every case or even if I had
  14    made the same decision, given the same set of circumstances
  15    that I would have made the same judgment.
  16              So, as I say, my attitude is it's more in the hands of
  17    the PLO and the PA as to what it is that you say the facts
  18    demonstrate that you are rather than an argument that simply
  19    you've made the opposite argument and have lost that argument,
  20    and so, therefore, since you've lost the argument, everybody
  21    else has to accept it in every litigation even though your
  22    position might be different.
  23             MR. FERGUSON: Your Honor, I don't think there is much
  24    dispute or uncertainty about what the basic facts are of what
  25    the PA is or what the PLO is. The question is, how do you
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   1    categorize that sort of sui generis entity for purposes of the
   2    U.S. Federal Rules of Civil Procedure.
   3              THE COURT: Well, no, I think that there is --look,
   4    the fact is that it may or may not be my role, but I know
   5    what's going to happen; that if you are going to argue to me,
   6    literally, and I think it's appropriate, it's time to stop
   7    debating this issue depending on whether it's to the advantage
   8    of some plaintiff or the advantage of the defendant.
   9              If you want me to accept the fact that the PLO is in
  10    fact an unincorporated association, then you're going to have
  11    to tell me that, and you tell me that it is and tell me why it
  12    is, and tell me the evidence supports that, and my guess is
  13    that people are going to quote this back to you in future
  14    litigation because I don't think it's appropriate for me to
  15    have you tell me that I should make that determination and the
  16    consequences for that determination in this case, and then you
  17    represent that to me in this case, and then the next case if
  18    it's not to your advantage for either service or some other
  19    purpose, then you want to make the opposite argument because,
  20    you know, this is not --
  21              MR. FERGUSON: I accept that, your Honor.
  22              THE COURT: -- it's not so much a legal argument. It
  23    is a fact; either you are an unincorporated association or
  24    you're not an unincorporated association, and you have to tell
  25    me whether or not you believe it is so, and you have to tell me
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   1    on what basis you believe that, particularly in this context
   2    because this is your affirmative defense.
   3              MR. FERGUSON: Right. I believe the PLO is an
   4    unincorporated association. I believe it should be treated as
   5    an unincorporated association because it is sort of an umbrella
   6    group for a variety of political parties and factions who share
   7    a common purpose of a Palestinian national movement with
   8    recognition of a Palestinian state. It's not incorporated. It
   9    is a loose affiliation of members who share a common purpose.
  10    So it best falls under the rubric of an unincorporated
  11    association.
  12              THE COURT: On what basis do I even have in this
  13    record at this stage of the proceeding to say that the PLO has
  14    members? Who are the PLO's members?
  15              MR. FERGUSON: Your Honor, I could first say that the
  16    plaintiffs have acknowledged the PA is an unincorporated
  17    association. Their argument is that the law where it is --
  18    where the association was formed to govern its capacity to be
  19    sued, but they don't contend that it's not an unincorporated
  20    association. There is no dispute between the parties about the
  21    PLO's status.
  22              But with respect to the membership of the PLO, the PLO
  23    represents all the Palestinians, including the Palestinians
  24    that are in the Diaspora, so those that are not in the West
  25    Bank and the Gaza Strip. And they represent all those
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   1    Palestinians who share in the Palestinian national movement.
   2              THE COURT: That's not the definition of an
   3    unincorporated association. The fact that they take the
   4    position that they represent the interest of all of those
   5    individuals does not make all of those individuals members of
   6    the PLO. That is not the definition of an unincorporated
   7    association for legal purposes.
   8              MR. FERGUSON: Well, I can refer the Court to the
   9    Kliman decision in the District of Columbia where it concluded
  10    that the PLO fell within the definition of unincorporated
  11    association precisely because it's composed of individuals
  12    without a legal identity -- I'm quoting from the Kliman
  13    decision from the District of Columbia.
  14              It has been determined by other federal courts that
  15    the PLO qualifies as an unincorporated association because it
  16    is "composed of individuals without a legal identity apart from
  17    its membership formed for specific objectives." Citing the
  18    Ungar decision from Rhode Island and also the Klinghoffer
  19    decision from this court.
  20              So, with respect to the PA, again, it's this problem
  21    of a sui generis entity. It has an executive branch. It has a
  22    legislative branch. It has courts. It took the position we
  23    are close enough to a state, we should be treated as state for
  24    some purposes. That's been rejected.
  25              THE COURT: I understand that.
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   1             MR. FERGUSON: So that's why I accept that the next
   2    best framework is unincorporated association.
   3             THE COURT: But there is no such thing as a default
   4    framework. You see what I'm saying? So you can't say that
   5    because it's not an apple, it must be an orange. That's not
   6    the way it works. As I say, you have to tell me why you say
   7    it's unincorporated -- is your position that the PA is an
   8    unincorporated association?
   9             MR. FERGUSON: Yes, it is, and because we have to pick
  10    a set of rules that govern capacity to be sued, that govern
  11    service of process, that govern immunity, and we have to define
  12    for U.S. law purposes how we're going to treat the sui generis
  13    purposes for purposes of applying the Federal Rules of Civil
  14    Procedure.
  15             THE COURT: But you are defining that because you give
  16    me a set of factors that meet that definition, and then you
  17    tell me why the PA or the PLO meets those factors. It's not an
  18    analysis that if the PLO or the PA has been rejected, it's one
  19    thing, they must be by default something else, that's an
  20    unincorporated association. That's not true. Because if
  21    you're not a state, you could be a corporation. You could be,
  22    you know, a partnership. There are a lot of things you could
  23    be depending on the facts.
  24             So, the question is not, you know, is there a space to
  25    push them in. The question is what is the nature of the
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   1    organizations, and in what way does the nature of that
   2    organization meet the requirements of being an unincorporated
   3    association? Now, you know, this first question may be much
   4    ado about nothing because when I ask them the same question,
   5    they may say to me, well, Judge, that's what we think they are,
   6    and then they have to give me a good reason then why they
   7    shouldn't be treated that way for all purposes.
   8              But I just want to first start out with the premise
   9    because almost every other case you've cited to me in which the
  10    court ruled that -- and not in all contexts, but in most
  11    contexts it had to deal with the issue of service, but there
  12    were some cases that also had to --
  13              MR. FERGUSON: The Parsons case specifically addressed
  14    the capacity of the Palestinian Authority to be sued for
  15    non-federal law claims.
  16              THE COURT: But in every one of those cases, my
  17    recollection is -- and you correct me if I'm wrong -- in every
  18    one of those cases the PLO and the PA took the opposite
  19    position, said that they were not.
  20              MR. FERGUSON: That they were not?
  21              THE COURT: Unincorporated associations.
  22              MR. FERGUSON: I don't think that's the case in
  23    Parsons, your Honor.
  24              THE COURT: You think the case in Parsons -- I have to
  25    look at that, but I don't -- I'm not sure they even
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   1    specifically took that position. Maybe in Parsons they took
   2    the position for the purpose of capacity and --
   3              MR. FERGUSON: In Parsons we did not argue sovereign
   4    immunity. That was one of the recent cases that was filed --
   5              THE COURT: Right. And my recollection was that not
   6    in Parsons that you said -- I don't know if you were in
   7    Parsons.
   8              MR. FERGUSON: I think how we framed it is that the PA
   9    and the PLO -- or especially the PA has argue stages. That has
  10    been rejected. The PA accepts that that's the consistent
  11    ruling of the U.S. courts and, therefore, the PA should be
  12    treated as an unincorporated association, as the court did in
  13    Kliman.
  14              THE COURT: I remember everything that you just stated
  15    except the fact that you say you accept that. I'm not sure
  16    that I read -- I don't know what the underlying position was,
  17    but in the case law that I read, I am not sure that you said we
  18    accept the fact that we are unincorporated association.
  19    Obviously, you wanted the benefit of excluding the cause of
  20    action, the underlying cause of action, if that was what the
  21    finding was going to be, but I'm not sure that you urged upon
  22    the court that in any of those cases that the PA and/or the PLO
  23    was in fact an unincorporated association.
  24              MR. FERGUSON: I can tell you that the PA is no longer
  25    standing on sovereign immunity claims and takes the position
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   1    that it's best treated for the Federal Rules of Civil Procedure
   2    as an unincorporated association, and that's what the courts
   3    consistently have done.
   4              THE COURT: Well, best treated is not --
   5              MR. FERGUSON: Well, it's not a corporation. It's not
   6    a partnership. What is it is the problem.
   7              THE COURT: Well, no, I understand that, but the
   8    question before me is not what it's best treated as. The
   9    question before me is whether you have an affirmative defense
  10    of lack of capacity to be sued because you are in fact an
  11    unincorporated association. Isn't that really the only issue
  12    for me at this point?
  13              MR. FERGUSON: There are two issues before you. One
  14    is whether there's a capacity to -- whether the PA and PLO have
  15    the capacity to be sued. The second is whether the Court
  16    should decline exercise of supplemental jurisdiction.
  17              THE COURT: But I haven't gotten to that yet.
  18              MR. FERGUSON: But with respect to the capacity
  19    question, yes, a threshold determination undoubtedly is that
  20    the PA and PLO are unincorporated associations. I don't think
  21    there's any dispute as to the PLO.
  22              As to the PA, you know, it's a group of Palestinians
  23    living in the West Bank and Gaza Strip, and there is a
  24    governmental structure there, but it is not treated as a state.
  25              THE COURT: But as you just described it is not the
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   1    definition of an unincorporated association.
   2              MR. FERGUSON: The question is then how do we
   3    determine this thing's capacity to be sued and how it should be
   4    served?
   5              THE COURT: I don't know, but that's not my issue at
   6    this point. The only issue for me right now is whether or not
   7    in fact the PA should be dismissed from this case because --
   8              MR. FERGUSON: Certainly we're not -- right, the
   9    Anti-Terrorism Act may continue the court case.
  10              THE COURT: Yes, I misstated it. Whether or not
  11    the -- I'll call them the common law clauses of action.
  12              MR. FERGUSON: Right.
  13              THE COURT: The common law causes of action should be
  14    dismissed because it is an unincorporated association and the
  15    law indicates that an unincorporated association does not have
  16    the capacity to be sued.
  17              MR. FERGUSON: Your Honor, I can't stand here and kind
  18    of neatly tick off the elements of the PA and sort of link them
  19    directly to a definition of unincorporated association. Courts
  20    that have looked at this issue have found that that's the best
  21    framework. That's really all I can offer you. But if this
  22    seems too -- you know, the fact that the PA is so sui generis
  23    that it makes it difficult to resolve the capacity argument,
  24    then that is really sort of another reason that the Court
  25    should not take on the seven non-federal law claims because,
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   1    again, this is another aspect of the complexity that these
   2    claims bring to the case.
   3              THE COURT: Then the way I am trying to analyze it is
   4    that may or may not be -- that may be correct, but the question
   5    is, does that mean that this can be resolved at this stage of
   6    the proceeding rather than at a later stage of the proceeding.
   7              MR. FERGUSON: I cannot contemplate any discovery that
   8    would shed any light on whether the Palestinian Authority
   9    should be treated as an unincorporated association. The Oslo
  10    Accords that set up the Palestinian Authority are widely
  11    available. They're a matter of public record. So the
  12    structure of the PA is well-known. There is no discovery that
  13    would aid this inquiry. Ultimately, we're left with the sui
  14    generis entity and we have to decide what basket it best fits
  15    into. I recognize this is a novel question and it doesn't fit
  16    neatly into any of the baskets, but that's what we're left
  17    with. I think I've hijacked Ms. Murphy-Johnson's argument.
  18              THE COURT: Go ahead.
  19              MS. MURPHY-JOHNSON: I am looking at to where we
  20    should next go.
  21              THE COURT: I mean, your basic argument is fairly
  22    straightforward.
  23              MS. MURPHY-JOHNSON: It is.
  24              THE COURT: And your basic argument is that -- if I
  25    articulate it correctly -- that the PLO, that you have an
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   1    affirmative defense that requires no further factual
   2    examination, and that affirmative defense is that the PLO and
   3    the PA are unincorporated associations, meet that definition
   4    for all purposes, and, therefore, whatever rules apply to an
   5    unincorporated association with regard to the common law claims
   6    should apply in this case.
   7              MS. MURPHY-JOHNSON: Correct.
   8              THE COURT: Fairly straightforward argument. I can
   9    accept that if everyone says to me that that's the way the
  10    issue is to be viewed. As I say, it doesn't make the case go
  11    away. The only thing I disagree with initially in terms of the
  12    proposition is that I think all of the claims that you ticked
  13    off, other than the last claim, would fall into that category
  14    because I'm not sure that -- was it Count Six?
  15              MS. MURPHY-JOHNSON: Yes.
  16              THE COURT: I'm not sure that Count Six would qualify
  17    as an independent cause of action.
  18              MS. MURPHY-JOHNSON: Right, and we take that position
  19    as well.
  20              THE COURT: They can explain to me if they think that
  21    that's an independent cause of action, but I don't know of any
  22    underlying elements of liability that independently prove to
  23    demonstrate that as an independent cause of action unless
  24    you've established an underlying cause of action. That seems
  25    to me to be also related to the issue of damages. I thought
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   1    that the plaintiffs pretty much argued that or at least lumped
   2    that into the same category as the other claims, but maybe not.
   3    Hold on just a second.
   4              MS. MURPHY-JOHNSON: Your Honor, if I might --
   5              THE COURT: Yes.
   6              MS. MURPHY-JOHNSON: -- in the plaintiff's opposition
   7    to our motion -- this is DE-196 at page 3 -- the plaintiffs
   8    grouped Count Six in with what they characterized as
   9    garden-variety non-federal causes of action.
  10              THE COURT: I'm sorry. Where are you looking, at page
  11    3 of their response?
  12              MS. MURPHY-JOHNSON: Yes.
  13              THE COURT: Oh, I see. Yes. Then I will discuss that
  14    with them. All right.
  15              Well, if you have anything further to say you want to
  16    say about the standing issue, then I will hear you; otherwise,
  17    let's just talk briefly about your argument that I should not
  18    assert supplemental jurisdiction.
  19              MS. MURPHY-JOHNSON: Certainly. We'll shift gears
  20    then to that argument.
  21              So, independent of this capacity issue, the defendants
  22    request that the Court nonetheless decline to exercise
  23    supplemental jurisdiction over the plaintiff's non-federal
  24    claims under 28 U.S.C. 1367 which states that the Court can
  25    decline to exercise supplemental jurisdiction if non-federal
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   1    claims raise complex questions of foreign law or if they would
   2    come to substantially predominate over the federal claim at
   3    issue in the case.
   4              We strongly feel that that is what would happen here.
   5    The case is already inherently complex on the federal grounds
   6    alone. There are seven different attacks involved over a
   7    period of three years, all involving different factual
   8    scenarios, potentially different militant groups allegedly
   9    involved. There are 42 plaintiffs.
  10              THE COURT: So why should I double that?
  11              MS. MURPHY-JOHNSON: Why should you quadruple that?
  12    Quintuple that?
  13              THE COURT: Right. But my question is different than
  14    your question. You are asking why should I quadruple that in
  15    this case. I'm saying why should I quadruple that in two to
  16    four different cases? What sense does that make? Why should
  17    you have to go through this twice, here and in another
  18    jurisdiction?
  19              MS. MURPHY-JOHNSON: Well, because here doing so would
  20    mean engaging experts on potentially up to four or five
  21    different foreign bodies of law --
  22              THE COURT: Well, they argued that -- look, as I said,
  23    this isn't rocket science. Wrongful death is wrongful death.
  24    What expert do I need to tell me -- I don't see any place where
  25    you argued, one, that -- well, I'm not quite sure what your
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   1    position is as to where these supplemental claims should be
   2    litigated and what law should apply.
   3              MS. MURPHY-JOHNSON: The question of what law should
   4    apply is actually a very complicated one since the Second
   5    Circuit issued its decision in the Licci matter. I don't know
   6    if I'm pronouncing that correctly.
   7              THE COURT: OK.
   8              MS. MURPHY-JOHNSON: There the Second Circuit held
   9    that the law of the jurisdiction having the greatest interest
  10    on litigation should be applied. And then tort cases such as
  11    negligence intentional infliction of emotional distress where
  12    conduct-regulating rules apply, the law of the location where
  13    the tort occurred applies.
  14              THE COURT: Who is going to make that determination?
  15    And what are you urging that determination to be?
  16              MS. MURPHY-JOHNSON: Well, if I could, I'm not sure
  17    that it necessarily warrants a definitive determination. I
  18    think that the question itself presents so much complexity and
  19    we could engage in years of litigation over which law actually
  20    applies.
  21              THE COURT: But why? I understand that in the
  22    abstract, but I don't understand how that applies to this case,
  23    and I am not sure how it makes it more efficient to do that in
  24    two or three different forums when we're all talking about the
  25    same underlying activity --
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   1             MS. MURPHY-JOHNSON: Sure.
   2             THE COURT: -- that just translates into different
   3    causes of action. I mean, their argument is this: That there
   4    are only two choices. You are either going to apply New York
   5    law or you're going to apply Israeli law. I don't know if you
   6    say there is a third choice, but you haven't articulated a
   7    third choice, so at least we've narrowed it down to two
   8    choices.
   9             MS. MURPHY-JOHNSON: If I might articulate that now.
  10    As we attempted to articulate in our June 6 letter to the
  11    Court, because of the Licci decision, it does appear that there
  12    is another alternative here, aside from New York law and
  13    Israeli law, and that would be however we would characterize
  14    Palestinian law because that is where the PA and the PLO at
  15    least for some part --
  16             THE COURT: Where do I look to find Palestinian law?
  17             MS. MURPHY-JOHNSON: Well, yes. That's how --
  18             THE COURT: Where does any forum look to find
  19    Palestinian law?
  20             MS. MURPHY-JOHNSON: Well, I will tell you.
  21             THE COURT: Wait. Stop. So, you are saying that
  22    there is such a thing as Palestinian law that's been applied in
  23    a court of law to resolve these disputes?
  24             MS. MURPHY-JOHNSON: I can't say for sure because I'm
  25    not an expert on Palestinian law.
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   1             THE COURT: Well, you got to say for sure, otherwise,
   2    I can't accept that argument. You can't just make it up.
   3             MS. MURPHY-JOHNSON: I'm not making it up.
   4             THE COURT: Well, that's as I say -- let's put it this
   5    way: They argue that there are certain injuries and deaths
   6    that occurred in Israel, so, therefore, under normal
   7    circumstances, given the fact that there are U.S. citizens,
   8    that the -- and I characterize them as the common law causes of
   9    action will either be causes of action under New York law or
  10    causes of action under Israeli law. In the first instance that
  11    makes sense.
  12             You say now that there's something else called
  13    Palestinian wrongful death law that is somehow different than
  14    Israeli or New York law that some court needs to go through --
  15    and I'm not sure which court you say needs to do that -- but
  16    some court needs to go through and determine what that is in
  17    order to litigate that issue. Is there something called
  18    Palestinian wrongful death law?
  19             MS. MURPHY-JOHNSON: Just like everything else in this
  20    case, that is also a complicated question, and I know that's
  21    not helpful to you.
  22             THE COURT: It's not a complicated question. It's a
  23    very simple question. If you can tell me there is such a
  24    thing, then I will say, all right, then somebody has to analyze
  25    that. If you can't tell me that you have a basis to say there
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   1    is such a thing, then why is that a consideration for me?
   2              MS. MURPHY-JOHNSON: Over history, depending on what
   3    foreign nation has governed the region, those various
   4    countries' laws have been exercised in the Palestinian
   5    territories, and over a time they've all become layered on top
   6    of each other.
   7              So, for conduct that occurred in the Gaza Strip,
   8    arguably Ottoman Law could apply because at some period of time
   9    Ottoman Law governed that region. And if certain conduct
  10    occurred in the West Bank, there could be a combination of
  11    British Mandate law, Jordanian Law, Israeli mililtary orders or
  12    Israeli law, but this has all been --
  13              THE COURT: Well, what does that have to do with the
  14    plaintiffs wanting to invoke and having available to them to
  15    invoke either the laws of Israel or the laws of New York? If
  16    your argument is that they cannot establish their cause of
  17    action under one of those laws, then you may prevail on summary
  18    judgment or before a jury in being able to convince the Court
  19    or a jury that, no, protections of those laws do not apply
  20    here. But what does that have to do with my declining to
  21    assert jurisdiction over this? How is this somehow easier for
  22    some other court to deal with and address than this Court?
  23              MS. MURPHY-JOHNSON: The plaintiffs themselves believe
  24    that they could potentially bring these cases, the non-federal
  25    claims, in Israeli courts.
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   1             THE COURT: Right.
   2             MS. MURPHY-JOHNSON: But I'm not saying that the
   3    choice is solely between -- and if this court were to exercise
   4    supplemental jurisdiction here, that it's a question of
   5    choosing between New York law and Israeli law. My only extra
   6    additional point is that if this Court were to address these
   7    claims, there is likely this third body of law that's developed
   8    over the past several decades in the Palestinian courts
   9    involving all these different layers of foreign law.
  10             So my point is, that if the Court were to accept
  11    supplemental jurisdiction over those claims, even the choice of
  12    law issue alone adds so much complexity to an already complex
  13    case that there is no doubt that these non-federal claims would
  14    come to predominate over the federal ATA claims.
  15             THE COURT: But I don't understand in the detail of
  16    that argument what that argument means. It sounds
  17    superficially logical, but what is it that this Court has or
  18    any court has to determine? They will invoke -- and you will
  19    either agree or disagree -- that they have the protection of
  20    either New York State common law or Israeli law, and they will
  21    say that we can prove that those laws do apply and should be
  22    applied and we can prove our cause of action under those laws.
  23             MS. MURPHY-JOHNSON: But I think under Licci that that
  24    is not accurate any more because the defendants -- if the
  25    defendants solely committed their tortious acts in Israel, then
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   1    under Licci, Israeli law would arguably apply. But there is a
   2    whole list of allegations in the complaint that the PA and PLO
   3    from their headquarters, which are not in Israel, acted
   4    negligently to, for example, release prisoners who then went on
   5    to allegedly commit these acts.
   6              THE COURT: OK.
   7              MS. MURPHY-JOHNSON: Or paid people from their
   8    headquarters, which are not in Israel, to commit acts.
   9              THE COURT: What does that have to do with a cause of
  10    action for negligence?
  11              MS. MURPHY-JOHNSON: I'm sorry?
  12              THE COURT: I'm just trying to pick a cause of action.
  13    Explain to me how that complicates any one of these causes of
  14    action.
  15              MS. MURPHY-JOHNSON: Because then the PA or the PLO
  16    acted in the West Bank negligently to release a given prisoner
  17    who then went and committed an attack.
  18              THE COURT: But that's not the nature of anyone's
  19    claim here.
  20              MS. MURPHY-JOHNSON: I'm sorry?
  21              THE COURT: That's not the nature of anyone's claim
  22    here.
  23              MS. MURPHY-JOHNSON: It is.
  24              THE COURT: Whose?
  25              MS. MURPHY-JOHNSON: The plaintiffs have alleged that.
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   1             THE COURT: Have alleged what?
   2             MS. MURPHY-JOHNSON: That the PA or the PLO have
   3    released certain people who were in their custody intentionally
   4    for the purpose of committing acts of terror.
   5             THE COURT: OK. Maybe I have to go back to the
   6    complaint again. I will accept your premise for now, but I'm
   7    not quite sure where you say that that requires some other
   8    alternative choice of law.
   9             MS. MURPHY-JOHNSON: Well, that's what Licci tells us.
  10    In Licci the question was -- and, unfortunately, it was a
  11    question between New York law and Israeli law, so I don't want
  12    to cabinet in those terms, but there the court found that
  13    American Express had acted in New York.
  14             THE COURT: Right.
  15             MS. MURPHY-JOHNSON: Those acts then resulted in
  16    rocket attacks in Israel, but New York law applied because New
  17    York is where American Express took its actions. So what I'm
  18    saying is Palestinian law, however one eventually comes to
  19    define it, would apply to any claim that the plaintiffs have
  20    that the PA acted tortiously within the Palestinian
  21    territories.
  22             THE COURT: So who is supposed to decide, and why is
  23    it somehow more convenient for some other court to decide
  24    that -- and even more convenient for the parties for some other
  25    court to decide that rather than in the case in which you
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   1    litigated already the issues with regard to the injuries and
   2    deaths for the crime?
   3              MS. MURPHY-JOHNSON: Because if it were litigated
   4    here, it adds a substantial layer of complexity.
   5              THE COURT: How? All I have to do is decide if you
   6    weren't giving me Ottoman Law. In their brief it says Ottoman
   7    Law applies, and, therefore, this is your defense, I'm sure I
   8    could decide that. That wouldn't take any more time than it
   9    has taken me to decide any of the other motions that I have to
  10    decide.
  11              MS. MURPHY-JOHNSON: Because I think, your Honor, it
  12    would become so much more complex because of the number of
  13    claims involved, the number of plaintiffs involved, the
  14    theories of liability, whether it's direct liability or
  15    respondeat superior.
  16              THE COURT: That's going to be true whether or not the
  17    supplemental claims went somewhere else or not.
  18              MS. MURPHY-JOHNSON: True, but on top of that we would
  19    have to hire experts.
  20              THE COURT: You're going to have to do that anyway.
  21              MS. MURPHY-JOHNSON: We're going to have to have
  22    translators. Everything is in a foreign language.
  23              THE COURT: You're going to have to do that anyway.
  24    I'm sorry, I didn't mean to interrupt you, but I'm trying to
  25    focus you on this issue. Part of my analysis is, you're saying
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   1    that -- and you're not saying that I'm required to do it or you
   2    have a right for me to have to settle this on this basis. I
   3    have the discretion to do this, and you're asking me to
   4    exercise my discretion appropriately to do this.
   5              My question is, first, if I do this, I must consider
   6    whether there is a reasonable alternative forum for the parties
   7    to litigate this dispute. What do you claim is the reasonable
   8    alternative forum that I should decline jurisdiction over these
   9    claims so that those claims can be litigated in another forum?
  10    Do you understand my question?
  11              MS. MURPHY-JOHNSON: I do understand your question,
  12    but to tell you the truth, I'm wondering if that is more
  13    appropriate if this were being raised as a forum non conveniens
  14    argument.
  15              THE COURT: But I can't imagine that it would be
  16    appropriate for me to act properly and not abuse my discretion
  17    by declining to assert supplemental jurisdiction over what
  18    would otherwise be valid claims if the consequence of that is
  19    that the plaintiff has no forum in which to litigate those
  20    claims.
  21              MS. MURPHY-JOHNSON: Well, the plaintiffs themselves
  22    have said that they believe that Israel could be a proper forum
  23    for these claims.
  24              THE COURT: But you say no.
  25              MS. MURPHY-JOHNSON: No. I'm saying that Israeli law
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   1    might not necessarily apply; not that Israel might not be the
   2    proper forum for the claims.
   3              THE COURT: So are you saying that I should decline
   4    jurisdiction over these claims in order that the plaintiffs can
   5    re-assert these claims in an Israeli court if they wish.
   6              MS. MURPHY-JOHNSON: Correct.
   7              THE COURT: All right. That's all I'm trying to say.
   8              MS. MURPHY-JOHNSON: OK. Let me see if there was
   9    anything else.
  10              THE COURT: All right. Let them respond because I
  11    have some questions for them, and then I will let you respond.
  12              MS. MURPHY-JOHNSON: Thank you very much, your Honor.
  13              MR. SCHOEN: Your Honor, I'm David Schoen, and I
  14    represent the plaintiffs. I see the Court has read the papers
  15    thoroughly, so I don't intend to just reiterate what's in the
  16    papers. I'd actually like to start at a different place than I
  17    intended originally, just to respond to a couple of things that
  18    were said, and maybe the lead line is, quite frankly, a comment
  19    the Court made. This applied to Section 1367, the choice of
  20    law argument. The Court said -- I'm paraphrasing -- it
  21    understands this argument in the abstract but does not
  22    understand how it applies in this case. That's it in a
  23    nutshell.
  24              That's exactly, with all due respect, what happened
  25    here. A number of legal arguments were thrown against the wall
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   1    to see which stick, but when you break it down to this case,
   2    none of them applies to this case. We don't get, for example,
   3    to the choice of law issue and these so-called complicated
   4    questions of now we hear Palestinian law or Israeli law because
   5    they've never shown there was a conflict between New York law
   6    and those laws. In fact, the Court well versed in these issues
   7    commented in the Licci case that the Court is familiar with
   8    Israeli law, and when it comes to these kinds of things, there
   9    really isn't any difference.
  10              But I heard some things today in the argument that,
  11    quite frankly -- and, again, I mean it with all due respect --
  12    I was quite surprised to hear. For example, we heard from
  13    Ms. Ferguson today the rather shocking proposition which turns
  14    everything on its head that if the -- I'm paraphrasing again --
  15    the fact that the question of whether the PA is an
  16    unincorporated association is too difficult to really determine
  17    should argue against hearing these claims, should make you
  18    dismiss these claims and send it away because we can't tell if
  19    it's an unincorporated association.
  20              The defendants have missed their burden here
  21    completely and missed the appreciation of their burden in all
  22    regards.
  23              Again, as the Court noted, we can't appear before this
  24    court and say, well, one argument didn't work; therefore, maybe
  25    this one will work, and then flowing from that should be the
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   1    prejudice to these plaintiffs because contrary -- and I know
   2    she believed it when she said it -- but contrary to what
   3    Ms. Murphy-Johnson said, we don't say these claims can be
   4    brought in Israeli court today. We say that's part of the
   5    extreme prejudice that's happened in this case because they
   6    waited so late to raise these things, the statute of
   7    limitations has run in the Israeli courts, and we submitted an
   8    affidavit from this Jeremy Stern to that effect.
   9              THE COURT: Let me start you with the basic premise
  10    that I started them with. Is it your position that they are or
  11    are not an unincorporated association?
  12              MR. SCHOEN: It is my position that they are not, and
  13    it's my position primarily that they have the burden of
  14    establishing that they are, and on this record they certainly
  15    have not done that.
  16              THE COURT: Well, I'm in the same position with you as
  17    I am with them is that your position is inconsistent and
  18    inconsistent -- understandably inconsistent because it is one
  19    way depending on what's to your advantage. Now, the position
  20    has always been consistently for service purposes and for other
  21    purposes that they're an unincorporated association.
  22             They argue, and I don't think you directly addressed
  23    the issue -- they argued that you served them on that basis,
  24    OK? And that's the way you proceeded on that basis, and,
  25    therefore, you would like to consistently cite every court's
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   1    ruling that they're an unincorporated association for the
   2    purpose of service; but then when it's to be applied to the
   3    causes of action, now you want to say, oh, they can't prove
   4    that. Well, what do you claim is their status?
   5              MR. SCHOEN: Respectfully, your Honor, let me explain
   6    why I believe there is no inconsistency.
   7              We've taken the position that they are not a
   8    governmental entity entitled to sovereign immunity, but that,
   9    as the Court said earlier, doesn't lead to the conclusion that
  10    for purposes of New York law they are an unincorporated
  11    association with members, therefore, not subject to suing or
  12    being sued.
  13              And, with all due respect, the argument on service
  14    that the defendants have raised is simply wrong. We didn't
  15    serve them or assert that we served them as an unincorporated
  16    association. Under Rule 4(h) that's the catchall for
  17    organizations. Frankly, the argument works in our favor. Why?
  18    Because Rule 4(h) says it applies to organizations or
  19    associations subject to suit under a common name. They have
  20    never challenged that part of it. If they're subject to suit
  21    under a common name, that tears asunder their argument that
  22    they're not an entity operating under a common name. Their
  23    argument is we need to -- when you're talking about an
  24    unincorporated association, it's just a loose conglomeration of
  25    members and, therefore, you need to get the approval or
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   1    ratification of every member. Well, if there is anything to be
   2    drawn from Rule 4(h) it is that it authorizes service for an
   3    organization or association subject to suit under common name.
   4              Again, let me get to a little more basic question.
   5    The defendant said, well, it's complicated. We're not sure
   6    what to look at. Maybe we should look at Palestinian law.
   7    We're not sure what to look at about whether they could sue or
   8    be sued because it's complicated.
   9              Well, how about a basic created document, the Oslo
  10    Accords that created the PA and that the PLO negotiated with
  11    the United States. It could not say more expressly that the PA
  12    is an entity authorized with the power to sue or be sued.
  13    Again, I don't think you could have it both ways.
  14              What are they trying to do? They're trying to say in
  15    New York they don't have the right to sue or be sued because
  16    it's an unincorporated association. Well, I would suggest to
  17    the Court, with all due respect to the defendants, that the
  18    fact that it is this quasi-governmental entity, which is what
  19    they argued in the Knox case and how the court in Knox treated
  20    them. I can give the page cites for that. It's 306 F.Supp.2d
  21    424 to 435. Either they're that or they're this other kind of
  22    organization. Well, that's exactly why the Court in cases like
  23    the Massachusetts Trust case that we cited and other cases in
  24    the reply, that's exactly why the Court said if they don't
  25    really fit into what we call an unincorporated association with
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   1    the members, and, after all, it's the membership that makes it
   2    where you can't sue them. You have to show approval by the
   3    individual members because it's such a loosey-goosey
   4    organization, but in the Massachusetts case, we say we look
   5    then how were they treated back home? And back home that
   6    organization that they argued was an unincorporated
   7    association, had the power to sue and be sued.
   8              They said, wait a minute now. That's going to be
   9    unfair if we go to Massachusetts, and so we're not going to
  10    treat them like an unincorporated association here. Whatever
  11    they're called -- again, we have to analyze it under New York
  12    law specifically.
  13              THE COURT: But every court that has opined on this
  14    issue for any purpose relating to any legal question, has
  15    determined that they qualified as an unincorporated
  16    association. What authority are you citing to me that would
  17    give you a basis to argue in law or in fact that that is not
  18    the case?
  19              MR. SCHOEN: I'm telling the Court, respectfully, that
  20    none of those courts has analyzed the question in this
  21    framework. It says it in Parsons. The decision they
  22    submitted. It says the defendants haven't shown us any reason
  23    otherwise. It wasn't analyzed or argued.
  24              THE COURT: It wasn't analyzed or argued, but that
  25    status was applied to them in all of those cases to both the
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   1    advantage and disadvantage of both sides.
   2              MR. SCHOEN: I'm saying, your Honor, I know that this
   3    Court is fully capable of analyzing the question on its own,
   4    and it has been presented and framed here. Again, the burden
   5    is on them. They have shown no membership. Who are the
   6    members of the PA? Who are the members of the PLO? And,
   7    again, respectfully, we do not concede that for purposes of New
   8    York law and this question under New York law that the PLO is
   9    an unincorporated association. There's reference made to it as
  10    an unincorporated association on page 17 of our papers, but
  11    then if you go to page 18, we say they haven't shown they have
  12    any members. So, while it might be called unincorporated
  13    association for some purposes, under New York law they've got
  14    to show they've got members and so on. And, frankly, if you
  15    had to show -- if we had discovery on the case, and they said,
  16    well, what would they determine in discovery? I suppose we
  17    have a laundry list, starting with their charter and the right
  18    to sue and be sued. How do they operate? Who are their
  19    members, and all that?
  20              Frankly, if their members are what they said in their
  21    United States Supreme Court brief that the PLO is an umbrella
  22    organization of different factions, well, frankly, every one of
  23    those factions has a charter that would condone, ratify or
  24    approve this kind of terrorism that occurred in this case.
  25              THE COURT: Well, my direct question to you is the
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   1    same as to them: Is it your position that they are or are not
   2    an unincorporated association?
   3              MR. SCHOEN: It is my position that as that term is
   4    used in New York law for these purposes, they are not. They
   5    are something like a quasi-governmental entity as the Court
   6    treated them in Knox in analyzing the question. They are
   7    not -- we have seen no proof on this record that they are a
   8    voluntary membership organization any more than any
   9    administrating authority, whether it's the Port Authority here
  10    or a governmental authority like a county government, is a
  11    voluntary membership organization. Its constituents, it has
  12    said, are all the factions of the Palestinian people. That
  13    doesn't sound or look like a voluntary membership organization.
  14    If they have the proof, they haven't made that proof.
  15              But all of it, again -- by the way, I just wanted to
  16    take one or two baby steps back. That is, I know the Court is
  17    aware that we also have pending motions to strike these
  18    affirmative defenses on procedural grounds, and specifically
  19    with this issue, a waiver issue, because this issue was raised
  20    a long time ago in a subject matter jurisdiction motion which
  21    was denied, and then didn't appear again in the next series of
  22    motions to dismiss that we saw, and it's coming up now. That's
  23    relevant both for waiver and for the exercise of this Court's
  24    discretion because one of the many important factors for this
  25    Court to consider is the prejudice that arose from the way in
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   1    which the defendants have engaged in their litigation of this
   2    case specifically with respect to that issue, and that means
   3    throwing these folks out of Court and throwing these claims out
   4    of court; not just for the plaintiffs who are non-Americans,
   5    but for the American plaintiffs that wouldn't be able to have
   6    the benefit of these kinds of claims which have different
   7    elements from the ATA.
   8              THE COURT: Well, that may go to your argument of
   9    whether or not they should be allowed to dismiss those claims
  10    on this basis at this time, but the plaintiff was put on notice
  11    that they had an affirmative defense.
  12              MR. SCHOEN: In the answer, your Honor?
  13              THE COURT: Yes.
  14              MR. SCHOEN: Yes, your Honor.
  15              THE COURT: So, there is no prejudice in the sense of
  16    surprise that at some point during this litigation they were
  17    intending to put forth that affirmative defense.
  18              MR. SCHOEN: Your Honor, is distinguishing between
  19    surprise and prejudice because that answer was filed after the
  20    statute limitations would have run in the Israeli courts, so we
  21    didn't have another forum to go to.
  22              THE COURT: But I can't fault them for that aspect of
  23    it, as long as their answer was timely filed, whether or not it
  24    was timely filed in relationship to the statute of limitations
  25    some place else is not their fault. They get to timely file an
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   1    answer, and they get to assert affirmative defenses that they
   2    say they're going to rely upon in defending this lawsuit. So,
   3    it may be prejudice to the plaintiff, but it's not undue
   4    prejudice.
   5              MR. SCHOEN: I follow your Honor. My suggestion was
   6    that the waiver argument arises because there were motions to
   7    dismiss -- and this issue had been discussed -- and there were
   8    motions to dismiss before the answer was filed, and this wasn't
   9    raised in those, and we say they abandoned it by not raising
  10    it.
  11              THE COURT: That may be a waiver of the motion to
  12    dismiss. It is not a waiver of the affirmative defense.
  13              MR. SCHOEN: But I think it puts us in the position of
  14    assuming that issue isn't going to be in the case any more
  15    until it arises again in the answer years later. That is, if
  16    we have to evaluate at some point on our own, well, could it be
  17    that they are going to argue lack of capacity down the road,
  18    therefore, we have to cover our bases and file in Israeli
  19    courts in case somehow a court dismisses these things down the
  20    road. No reason to believe that until the answer is filed.
  21    When they filed other motions to dismiss when this subject the
  22    lack of capacity had been raised earlier, that motion was
  23    denied in the context of subject matter jurisdiction motion --
  24    sorry -- had been denied and then subsequent motions to dismiss
  25    are filed, it's not raised again. I'm just saying in terms
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   1    of --
   2              THE COURT: But that's what I'm saying, I want to
   3    understand your argument. I understand that argument to be a
   4    waiver of a subsequent motion to dismiss for lack of capacity.
   5              MR. SCHOEN: I follow you, your Honor. Your Honor is
   6    being very precise.
   7              THE COURT: It is not a waiver of an affirmative
   8    defense because they have not yet filed an answer asserting
   9    affirmative defense, and as long as they still have the right
  10    to file an answer asserting their affirmative defenses, it
  11    doesn't automatically -- as related to your other motion
  12    automatically say I'm supposed to strike their affirmative
  13    defense because they didn't make it in a motion to dismiss.
  14              MR. SCHOEN: Your Honor is being very precise and
  15    absolutely correct, I believe.
  16              However, that brings us to the other argument again
  17    about how they raised it in the answer. As your Honor is also
  18    aware, we have raised this argument, and under Rule 9 they fail
  19    to allege it with particularity and with the supporting facts
  20    that are required. We cite the cases in the brief that require
  21    that kind of allegation. We can't just throw out there lack of
  22    capacity.
  23              I know I've skipped all around. I would like to just
  24    kind of put in a nutshell a little bit the first argument and
  25    just reiterate what our arguments are on this unincorporated
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   1    association, and then I would like to just put in a nutshell
   2    our 1367 arguments, and then I would like three minutes to
   3    discuss with the Court why in all of this, and especially in
   4    the exercise of the Court's discretion, it makes absolutely no
   5    sense to dismiss these cases for any of the prudential reasons
   6    that courts sometimes dismiss what I, in the old days, called
   7    pendent supplemental jurisdiction to dismiss those kinds of
   8    cases in this case.
   9              On the unincorporated association, as I say,
  10    fundamental position after we get past the waiver and all
  11    that -- and that would be one way to decide it is on waiver --
  12    is that the burden is on them because they're looking here for
  13    an escape for these claims in this case. They have the burden
  14    of proving that they are an unincorporated association under
  15    New York law. And that doesn't end it. It's a matter of
  16    capacity, even if they are an unincorporated association that
  17    they don't have the capacity to sue or be sued. That's
  18    relevant here because they are this unique sort of animal,
  19    let's call it -- unique sort of entity, both the PA and the
  20    PLO.
  21              So, again, I say with respect to the PA, you look to
  22    the organic document that created them. It says expressly,
  23    which the PLO negotiated for, we have the right to sue and be
  24    sued. Again, we don't have to guess because we pulled a series
  25    -- doing discovery on our own, we pulled a series of about 10
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   1    to 14 case necessary which the PA has sued. They're the
   2    plaintiff in 10 to 14 cases at least. That was just in one
   3    glance in the Israeli court. So they recognize they have the
   4    right to sue and be sued.
   5              So what we say in this argument is when you're dealing
   6    with, even if it's an unincorporated association --
   7              THE COURT: Slower.
   8              MR. SCHOEN: I'm sorry. If it's a foreign
   9    unincorporated association -- and by foreign, I just mean a
  10    non-New York unincorporated association -- we have to look to
  11    how that entity is treated back in its domicile. Those are the
  12    cases we've cited that they take issue with, and we cite it
  13    again in the reply later on. I can give the Court the cites to
  14    pleadings and all that, but, again, I can see the Court has
  15    read them all. So that is an answer to that.
  16              The 4(h) argument we've discussed. The only reason I
  17    raise it is because they've tried to claim mileage out of that
  18    saying well, they served it under 4(h) as an unincorporated
  19    association. That's the catchall for organizations. Again, it
  20    undercuts their argument because it only applies to groups that
  21    can be sued under a common name. Their position is we can't be
  22    sued under a common name. You got to name our president or
  23    treasurer and then prove all the members approved it or
  24    ratified it. That's a different kind of entity.
  25              I think that pretty well covers it. Again, they have
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   1    the burden of showing what it is and of establishing that they
   2    are members, or, as the Court alluded to, or suggested -- I
   3    don't see that the Court came to any conclusion -- as the Court
   4    threw out as an issue, isn't it fundamentally a question of
   5    fact? If it's a question of fact, then we have no business
   6    deciding it at this point. Certainly nobody has been
   7    prejudiced and nobody would be prejudiced by having it go
   8    forward all the way through.
   9              In fact, two of the five plaintiffs, who they claim
  10    shouldn't have any claims here on their demand, on the
  11    defendant's demand, have flown over to New York, have had their
  12    depositions taken on damages, and have had Rule 35 examinations
  13    taken already at great expense and great inconvenience to them.
  14              On the Section 1367 argument, your Honor, first of
  15    all, again, we don't even get there. There has been no showing
  16    of any conflict of laws in the first place. Why is that
  17    important? Because they rely on two prongs: They rely on the
  18    prong that you have the discretion to get rid of these claims
  19    if it raises a novel issue, that sort of thing.
  20              Let me just read from 1367, your Honor.
  21              Their claim is that "this case raises a novel or
  22    complex issue of state law" -- you know, some jurisdiction
  23    other than the federal court -- "and that the claim or
  24    Subsection 2" -- I'm reading from 28 U.S.C. 1367(c)(1) and (2).
  25             The first one says "it raises a novel or complex issue
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   1    of state law." The second one is "these claims substantially
   2    predominate over the claim or claims over which the district
   3    court has jurisdiction" -- the ATA claims.
   4              "The last proposition, cannot be supported under any
   5    reasonable good faith argument that these garden-variety claims
   6    of wrongful death and assault and battery would predominate
   7    over this thing."
   8              What they mean is, well, we would have to apply
   9    foreign law for them, and they would predominate because we'd
  10    all get bogged down, as Ms. Murphy-Johnson said, in having
  11    experts in here for two or three years with foreign law and all
  12    that. Nonsense. I don't mean that disrespectfully, but it's a
  13    nonsensical argument because we don't get to the first part.
  14              First of all, case law ad infinitum, and the
  15    commentators all say, as the Court said earlier, when we're
  16    dealing with torts, contract claims, and that sort of thing,
  17    these are not the kind of novel or complex issues that are
  18    contemplated by Section 1367(c). That's right out of Wright &
  19    Miller and cases that they cite.
  20             On the second part of it, will they predominate, this
  21    is the classic case in which the state court claims are
  22    intertwined -- inextricably intertwined with the federal claim.
  23    The proof is the same. The evidence is the same. You go
  24    through one trial with no difference except maybe the elements
  25    are more simple than in the ATA.
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   1             But, again, let's talk about the burden. The first
   2    burden is on them to prove that there is a conflict between New
   3    York law and Israeli law or Palestinian law. And to say to the
   4    Court today, well, now we don't know what law would apply in
   5    Palestinian territories -- they are the law. They're the
   6    legislature there. They are the courts there. They have the
   7    burden to tell the Court. It can't just be let's throw it
   8    against the wall, and in the abstract we could have an issue
   9    here, and it could be real complicated, maybe Judge. Can't
  10    tell you why. Can't tell you how. Can't tell you what the
  11    differences are or what that body of law is, but, you know, in
  12    the abstract, that could be out there; therefore, Judge, why
  13    don't you just get rid of these things and makes things simple?
  14    That's not the way it works, the Court knows that, and it's not
  15    fair.
  16             Another relevant question: Would it enlarge the scope
  17    of the action at all? Not at all. Not at all. Let me
  18    explain. I think the best way for me to explain what I mean by
  19    that, it will take me about three minutes because I want to
  20    concretize it and put it in real terms. I want to tell the
  21    Court who the five plaintiffs are that we're talking about and
  22    how their claims arise to perfectly, I believe -- not me -- the
  23    facts perfectly demonstrate the point I'm trying to make here;
  24    both why it wouldn't complicate the case at all and why it's
  25    perfectly appropriate for these claims to be in this case. In
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   1    fact, this is the classic case.
   2              The first plaintiff -- we're talking, again, about
   3    five plaintiffs on these claims. The first plaintiff is
   4    Guetta. In January of 2001, just outside Jerusalem, four men
   5    with Kalashnikov machine guns opened fire on a car in which
   6    Varda Guetta was traveling with a 14 year-old son Oz. The
   7    shooters got out of their car and they fired at the Guettas'
   8    car just a few feet away. Varda got a close look at some of
   9    them. We intend to prove in this case that those men were
  10    officers with the PA Police Department Security Forces. Many
  11    of them are now sitting in jail for carrying out similar
  12    attacks in that same area. The son, Oz, was struck with
  13    machine gun bullets and has serious injuries. He is an
  14    American citizen and has an ATA claim. Somehow, miraculously,
  15    the bullets missed Varda, but she has significant mental health
  16    issues, as they know from depositions, and, as a result, she
  17    has a physically and emotionally crippled son. And she deals
  18    with that every single day.
  19              It would be unfair in the extreme to deny Varda the
  20    opportunity to present her claims from this same incident in
  21    which the claims for her son's injuries are going to be
  22    presented. She has claims for the emotional distress. She has
  23    claims for the loss of consortium, the loss of her mother/son
  24    relationship as it was over the last ten years. So it doesn't
  25    add to the scope of this case because the evidence will be the
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   1    same. The evidence will be that she was there and what she
   2    suffered. So, yes, if we have to put on some damages evidence
   3    about her, that can increase it a little bit. That's not the
   4    kind of thing we talk about in why we have to get rid of these
   5    claims because they would predominate.
   6              I'll make it real quick on the others. In the Bauer
   7    incident we allege in March 2002, a suicide bomb blew up on
   8    King George Street in downtown Jerusalem. Dr. Alan Bauer and
   9    his young son, Yehonathon, were injured severely and several
  10    Israelis were killed. Again, two officers in the PA Security
  11    Services, Abdel Akrim Aweis and Nasser Shawish were convicted
  12    of planning the attack and sending the bomber. They proudly
  13    admitted it. This is one of those cases in which General Zinni
  14    handed the PA a list of known terrorists, people who were
  15    committing these acts. They locked up Aweis for about a week
  16    or two and then released him. They knew who he was; they knew
  17    what he was going to do.
  18              The story gets even worse. Let me cut to the chase
  19    here. Alan Bauer and his son, Yehonathon, are Americans. They
  20    had ATA claims. But Revital Bauer, who is Alan's wife and
  21    Yehonathon's mother, is not American. She only has the
  22    non-federal claims. So, again, she'd be out of court, but
  23    there's no reason for her to be because this case is going to
  24    be tried here and now with all of the same evidence at trial.
  25              Goldberg is the third case. January 2004, a PA
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   1    policeman Ali Jara got into the number 19 bus in Jerusalem.
   2    The attack was planned, we allege, and we will prove, by two
   3    other PA policeman, Achmed Salah and Halmi Hamash, who were
   4    convicted and got multiple sentences for it. Among those
   5    murdered in the bombing was Stuart Scott Goldberg. He was
   6    Canadian. So his estate doesn't have an ATA claim, but his
   7    wife and seven minor children, who are American, do. They have
   8    their ATA claims here, and they will be litigating it. So what
   9    an absurd result to throw the estate of the fellow who was
  10    murdered out while the relatives will be in here and have the
  11    right to be in here.
  12              Finally, there's the Mandelkorn case, which are two of
  13    the plaintiffs. There in June 2002 a suicide bomber blew up in
  14    a crowded bus stop in Jerusalem, killing a group of Israelis
  15    and wounding plaintiff Shaul Mandelkorn. He's not American,
  16    but his father, Rabbi Leonard Mandelkorn, is American, and,
  17    therefore, the father has a claim under the ATA; but since
  18    Shaul is not American, he doesn't have a claim, nor does his
  19    mother under the ATA. But, again, you'll have the father going
  20    forward here, all of the facts of that incident, that terrible
  21    terrorist incident will be put before the Court and jury in
  22    this case in all their detail whether or not those plaintiffs
  23    are here. Those plaintiffs deserve an opportunity to have
  24    their case heard.
  25              In terms of the depositions, as I say, Revital Bauer,
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        C89QsokC1
   1    the wife, the husband of Alan and the mother of Yehonathon, was
   2    deposed already, and she's already had her Rule 35 examination
   3    done.
   4              Varda Guetta was deposed already June 28. She had her
   5    mental examination June 27 at their demand. And they already
   6    have demands out there for immediately taking the depositions
   7    and Rule 35 examinations of the other plaintiffs. Well, then
   8    they should do it because these claims ought to go forward,
   9    your Honor.
  10              I hate to even throw this out here because, again, I
  11    don't think we get off first base with these claims, but if we
  12    did, then we ought to be able to amend the complaint at this
  13    point and name the president and the treasurer of the
  14    association and prove to the Court then that the kinds of -- we
  15    don't know who their members are, but if they claim the members
  16    are these factions, that each one of those factions has a
  17    charter and a policy and a practice of engaging, approving and
  18    ratifying these kinds of terrorist acts, so that we would get
  19    them that way also.
  20              The bottom line is the estate claims ought to go
  21    forward for all the reasons we've said, your Honor. I
  22    appreciate the time. I know the Court has read the papers. We
  23    also rely on the papers. And I don't mean to undercut anything
  24    in the papers that I've said here today.
  25             THE COURT: Let me ask you a side question with regard
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        C89QsokC1
   1    to your Count Six. Why is that an independent count?
   2              MR. SCHOEN: Your Honor, it could well be a misnomer
   3    considering it to be a cause of action. This is a solatium and
   4    consortium count. The fact of the matter is, under the ATA we
   5    have the right to those kinds of damages.
   6              THE COURT: Damages.
   7              MR. SCHOEN: Yes, your Honor.
   8              THE COURT: That's a determination of damages. That's
   9    not, as I understand it, an independent cause of action. You
  10    say that you want to allege it as a separate non-federal cause
  11    of action. The fact that it may be related to damages in a
  12    federal cause of action doesn't make it independently a cause
  13    of action unless there is such a cause of action in Israeli law
  14    or in New York law, and I fail to find it.
  15              MR. SCHOEN: Let me say this, your Honor ---
  16              THE COURT: I assume you put it in that category of
  17    other of common law or non-federal claims, but --
  18              MR. SCHOEN: Because we believe those kinds of damages
  19    are also recoverable under the state.
  20              THE COURT: That is what you said, let me go to --
  21              MR. SCHOEN: The Court's point is, it's not a separate
  22    cause of action. I have been in the case two days, and I think
  23    that's right, and the Court knows it far better than I do, and
  24    the Court has been in the case a lot longer.
  25              THE COURT: You've talked about garden-variety
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        C89QsokC1
   1    non-federal causes of action, such as wrongful deaths, loss of
   2    consortium and solatium, assault and battery, negligence and
   3    infliction of emotional distress. Then you talk about the five
   4    remaining counts: Conscious pain and suffering, civil
   5    conspiracy, aiding and abetting, vicarious liability and
   6    respondeat superior and inducement. They set forth theories of
   7    liability and/or types of damages available, not separate
   8    causes of action.
   9              It seems to me that Count Six falls in that category,
  10    not the first category.
  11              MR. SCHOEN: I can't disagree, your Honor.
  12              THE COURT: OK.
  13              MR. SCHOEN: I hesitate to speak for lawyers who have
  14    done ten years of work in the case and I'm in it two days, but
  15    that's the way I read it.
  16              THE COURT: That's not determinative of this case.
  17              Let me just go back to one other issue with regard to
  18    your motion to strike.
  19              MR. SCHOEN: Yes, your Honor.
  20              THE COURT: Let me put aside for a second the lack of
  21    capacity in the affirmative defense. What is the utility or
  22    purpose of striking all of the affirmative defenses at this
  23    point or striking anything at this point? I understand the
  24    difference between a motion to dismiss and a motion to strike.
  25    Why am I striking?
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        C89QsokC1
   1             MR. SCHOEN: Again, your Honor, I think part of this
   2    is -- I will tell you how I read it, your Honor. I have a
   3    little bit of my own baggage in this one. The judge I happened
   4    to clerk for was real big on this sort of stuff. That is, he
   5    would call up the parties at the time and say, listen, you've
   6    thrown this in your answer, I don't want this all -- we're
   7    going to have a have a trial on that. Let's just clean it up.
   8    I think part of that is what this is. For example, one of the
   9    objections in the motion to strike is that the defenses are
  10    just too conclusory. Then we break it down.
  11             But as to affirmative defenses three and six, we say
  12    these allege personal jurisdiction and improper venue, those
  13    have already been ruled on. No reason for them to be in the
  14    answer. They were dismissed on a motion.
  15             THE COURT: So I ignore them.
  16             MR. SCHOEN: OK.
  17             THE COURT: As I say, it's just a matter of style.
  18    You're right. Your judge may have stricken them. I don't even
  19    want to spend the time having to argue about striking them. I
  20    will just ignore them. If those issues have been resolved,
  21    they've been resolved. Every time I dismiss something out of a
  22    case, I don't need to go back and rewrite the pleadings. It's
  23    not there. My attitude is that if they have alleged
  24    sufficiently and put you on notice of any claim, counterclaims,
  25    or affirmative defenses, the only question in my mind for me to
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        C89QsokC1
   1    address is whether or not at the end of discovery there is a
   2    basis in which to put forth those affirmative defenses in
   3    support of a summary judgment motion or to go to a jury with
   4    those affirmative defenses.
   5              MR. SCHOEN: I understand, your Honor. I think
   6    another issue, just as a matter of law, was plaintiffs take the
   7    position that Twombly and Iqbal apply to affirmative defenses,
   8    and we cite a whole host of cases that say that, and say if
   9    they can't support these things, they ought to go out --
  10              THE COURT: Which affirmative defense don't you
  11    understand that they are asserting and why they are asserting
  12    them?
  13              MR. SCHOEN: I think we understand them.
  14              THE COURT: So, what else does Iqbal and Twombly
  15    require other than sufficient specificity for you to understand
  16    the nature of the affirmative defense so that you can confront
  17    that affirmative defense?
  18              MR. SCHOEN: I think specifically, for example, for
  19    the fourth defense of lack of capacity, this dovetails with
  20    that argument under Rule 9, and, that is, they have the burden
  21    of setting out the facts that they know about that make them
  22    this unincorporated association.
  23              THE COURT: They don't have to prove it in their
  24    answer. They just have to give you notice of what they claim
  25    is the nature of the affirmative defense. It seems to me that
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        C89QsokC1
   1    when anyone reads from the plaintiff's side that they were
   2    asserting a lack of capacity, that the only reasonable
   3    conclusion to reach at that point was that they were asserting
   4    a lack of capacity based on the fact that they are not an
   5    unincorporated association.
   6              MR. SCHOEN: I hear the Court. I would just say that
   7    I think the rules require them to also set out the facts that
   8    support it, and, remember, we have this problem with their
   9    26(a) disclosures.
  10              THE COURT: Well, that's a different question.
  11              MR. SCHOEN: That's right.
  12              THE COURT: You could have enforced the 26(a)
  13    disclosures or moved on the basis that the disclosures are
  14    insufficient, but that doesn't go to the pleadings. The
  15    disclosure doesn't go to the pleadings. It goes to whether or
  16    not they made sufficient disclosures.
  17              MR. SCHOEN: Yes, your Honor. That's raised in our
  18    cross motion, of course. The disclosures were insufficient,
  19    and that that's relevant to this issue as well.
  20              THE COURT: Well, the disclosures may be insufficient
  21    and may warrant preclusion of certain evidence that wasn't
  22    disclosed, but I'm not sure how that independently factors into
  23    my evaluation as to whether the pleadings are sufficient. I
  24    assume that you would say I should reject their argument that
  25    your disclosures were insufficient, so, therefore, you fail to
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        C89QsokC1
   1    state a cause of action in your complaint. Those aren't
   2    related to each other. Those are two different legal analyses.
   3              MR. SCHOEN: I hear you, Judge.
   4              THE COURT: So, at this point, as I say, my reaction
   5    is for the purpose of cleaning up the pleadings, if I spend
   6    most of my time trying to do that in cases, I'd be spending a
   7    lot more time doing that than concentrating on the merits of
   8    the case. With regard to any affirmative defense, I'm not sure
   9    that you have articulated which affirmative defense -- I
  10    understand your arguments about what issues have already been
  11    addressed, and that they're no longer in this case; but with
  12    regard to an argument as to any particular affirmative defense,
  13    I'm not sure which affirmative defense that you say is
  14    inadequately pled on the basis that it is not pled in a manner
  15    in which you sufficiently understand what is the nature of the
  16    affirmative defense that they intend to pursue in order to
  17    defeat liability.
  18              MR. SCHOEN: I understand, your Honor.
  19              THE COURT: So, is it your position that -- when you
  20    say the underlying facts, I assume it's not your position that
  21    even with regard to capacity, if they said that we assert the
  22    affirmative defense of lack of capacity because we are an
  23    unincorporated association, and, therefore, cannot be sued, you
  24    wouldn't argue that some other factual allegation of proof
  25    would be necessary beyond that.
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        C89QsokC1
   1             MR. SCHOEN: Under Rule 9, I would, your Honor.
   2             THE COURT: What else would you say would be -- they
   3    would have to give you the proof on that?
   4             MR. SCHOEN: They have to make the assertion with
   5    their defense, and that facts are peculiarly within their
   6    knowledge.
   7             THE COURT: But what facts are peculiarly within their
   8    knowledge? If they simply said, we have the affirmative
   9    defense, and they didn't articulate this, but I think you
  10    understood this to be their position. So if they had
  11    specifically articulated in the affirmative defense, that we
  12    have the affirmative defense of lack of capacity to be sued
  13    because we have been determined to be and we are in fact an
  14    unincorporated association which cannot be sued under New York
  15    law for these non-federal claims, you are not saying that they
  16    would have to lay out in attached chapter and verse what
  17    created them and who their members are and how they're an
  18    unincorporated association, as long as they put you on -- this
  19    is notice to you. Even in terms of affirmative defenses, that
  20    is clearly a plausible theory under Twombly and Iqbal, and it's
  21    clearly sufficient to put you on notice that they claim to
  22    establish as a defense to any cause of action that you might
  23    otherwise establish that you have sued an entity which cannot
  24    be sued. I'm not quite sure what else you say that they would
  25    be required to put in a plea.
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        C89QsokC1
   1              MR. SCHOEN: Your Honor, I refer the Court to DE 196
   2    at page 9. We just kind of set out sort of the body of case
   3    law starting with the Pressman v. Estate of Steinvorth case.
   4    What they say in there in fleshing this out, what do we mean by
   5    Rule 9(a) and what's a waiver? They say: He waived the
   6    capacity defense by waiting more than seven years before
   7    raising it. That's not what your Honor is talking about right
   8    now.
   9              THE COURT: But they're not even raising a waiver
  10    argument in that regard. You're raising an insufficient
  11    pleading argument.
  12              MR. SCHOEN: In this argument, of course, the Court's
  13    aware we are waiving the waiver argument but they waited so
  14    long -- they raised it first and then they, we say abandoned
  15    it, and then raised it again. That's what happened in
  16    Pressman.
  17              THE COURT: Slow down. Slow down for a second.
  18              I understood your waiver argument and the failure to
  19    sufficient plead the affirmative defense argument to be two
  20    separate arguments. Is that not two separate arguments?
  21              MR. SCHOEN: Two separate arguments. The only reason
  22    I raise it now is because in Pressman, they put it in that
  23    context.
  24              THE COURT: Right, in the waiver context.
  25              MR. SCHOEN: Not just the waiver -- I'm sorry, your
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        C89QsokC1
   1    Honor. They say because he failed to be more explicit in his
   2    answer, he has waived it. So it's a waiver because he didn't
   3    properly or timely raise it. That's an argument we have. And
   4    in this context, the way they call it in Pressman is they call
   5    it a waiver by not explicitly laying out supporting facts.
   6    Rule 9(a) requires not only pleader to make a specific negative
   7    averment of the plaintiff's capacity to sue, but also that
   8    averment to include "such supporting particulars as are
   9    peculiarly within the pleader's knowledge."
  10              In this case, they only asserted that we lacked the
  11    requisite standing to bring the case, but they didn't give any
  12    particulars or explanation, the Court said, and the Southern
  13    District here, the Court said, and, therefore, they waived the
  14    issue for not being specifically -- for not laying out the
  15    supporting facts. In this case, I would say who the members
  16    are, what makes them an unincorporated association, because it
  17    gives us notice then.
  18              THE COURT: On what point do you say they waived this
  19    because at some point you knew this, so they didn't.
  20              MR. SCHOEN: I still don't know why they claim they're
  21    an unincorporated association.
  22              THE COURT: And you say because you don't know at this
  23    point why they claim that they're an unincorporated
  24    association, that they have waived that argument?
  25              MR. SCHOEN: Yes, your Honor. And I don't believe
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        C89QsokC1
   1    they are a membership organization, as we know that to be
   2    required under unincorporated association. If they are, I
   3    don't know who their members are, and I say -- they do know.
   4    If they are going to take the position --
   5              THE COURT: But you do know it to one extent. You
   6    know it to the extent that they have been determined to be an
   7    unincorporated association in other cases, so you are at
   8    least -- to sort of say it is somehow a surprise to you that
   9    somebody would say this and why they would say that is a little
  10    bit --as I said, that's why I say it sounds to me you are
  11    making solely a waiver argument. You are not making anything
  12    other than a waiver argument.
  13          (Continued on next page)
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                                                                   60
        C895sok2                argument
   1             MR. SCHOEN: It's a waiver and an insufficiency
   2    argument under Rule --
   3             THE COURT: Well, I'm not sure -- as I say, I'm not
   4    sure that it's a waiver of argument that they didn't put you on
   5    notice as to the nature of the affirmative defense so that you
   6    can obviously have an opportunity to either move to dismiss it
   7    or to explore any discovery. I don't understand that you were
   8    in such a position.
   9             MR. SCHOEN: Well, we have said we needed discovery on
  10    that issue, of course before --
  11             THE COURT: Right. So, if you get discovery on the
  12    issue then why is it waived?
  13             MR. SCHOEN: I still think it is a violation of Rule
  14    9.
  15             THE COURT: Have you requested discovery on that
  16    issue?
  17             MR. SCHOEN: Yes, your Honor. We have discovery
  18    requests for cases in which they've sued and been sued.
  19             THE COURT: Okay.
  20             MR. SCHOEN: That sort of thing.
  21             THE COURT: Are they somehow in default on responding
  22    to those outstanding requests?
  23             MR. SCHOEN: I don't know the answer to that but
  24    they're asking your Honor to dismiss these claims and are
  25    saying we don't need any discovery.
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        C895sok2                  argument
   1             THE COURT: No, but I'm not -- I'm not focusing on
   2    what they're asking me to do, I'm focusing on what you're
   3    asking me do. I mean, you are saying they have waived it even
   4    though you targeted a discovery request that is still
   5    outstanding, they have not defaulted on appropriately and
   6    timely responded to that discovery request. So why, under
   7    those circumstances, should I say that they have -- you're in a
   8    position to say that you don't understand the nature of their
   9    claim and that's sufficient for you to confront and disprove
  10    that affirmative defense?
  11             MR. SCHOEN: Let me put it like this, your Honor.
  12             THE COURT: Or explore that in discovery.
  13             MR. SCHOEN: Let me put it like this, if may.
  14             I think part of the reason for the rule is that
  15    requires this so that we are not just engaging in endless
  16    motion practice and briefing, let's flesh it out from the start
  17    so we know what we're talking about with the answer; not so
  18    that, your Honor, we can show up today after all of this
  19    motions practice and say -- I don't mean this in any way as a
  20    personal attack at all -- but I'm saying from the defendant's
  21    perspective, well, I guess we're an unincorporated association
  22    because we haven't been anything else so far.
  23             THE COURT: But aren't you already in that position?
  24    If you weren't in that position you wouldn't have been in a
  25    position to articulate and generate the specific discovery
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        C895sok2                 argument
   1    requests that you say were relevant to that issue. You have
   2    already done that. Why would a -- if you have already
   3    requested what you know is the relevant inquiry to defeat that
   4    affirmative defense or to argue that they produce no proof and
   5    so order that from the defendants, in what way should I say
   6    that?
   7             MR. SCHOEN: If the Court's position is no harm, no
   8    foul, in a sense, I hear you. I think there is a foul because
   9    I think it cost us a great deal extra time and effort and money
  10    and so on having to deal with the issue without knowing --
  11    without them meeting their obligation because it is part of the
  12    same obligation carrying a burden of proof, that is, why are
  13    you an unincorporated association, who are your members, how do
  14    you establish those things. And in the answer there is a Rule
  15    98 for a reason. It distinguishes between lack of capacity and
  16    other kinds of other defenses and it says you have to give us
  17    the underlying facts.
  18             Judge, are we finished?
  19             THE COURT: Yes.
  20             MR. SCHOEN: I mean you make it -- this is what a
  21    lawyer lives for, frankly, to have a Court this prepared when
  22    we come in here for argument.
  23             THE COURT: I know. It is important for all parties.
  24             MR. SCHOEN: I very much appreciate it.
  25             THE COURT: I will let them respond.
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        C895sok2                 argument
   1             MS. FERGUSON: You have me back again, your Honor.
   2             THE COURT: Sure.
   3             MS. FERGUSON: Just briefly on whether there was sort
   4    of a foul in the way in which the affirmative defense of lack
   5    of capacity was raised.
   6             The PA and PLO fully briefed this issue back in 2007
   7    and the Court wanted to defer ruling on that question until the
   8    threshold of personal jurisdiction issue was resolved. That
   9    took some time to resolve and, meanwhile, we preserved our lack
  10    of capacity argument and then, of course, raised it in the
  11    answer so there has been no waiver, there has been no
  12    prejudice. The plaintiff has been on notice since 2007 not
  13    just that we intended to raise a lack of capacity defense but
  14    of the very nature of the argument and what it rested on
  15    because we actually briefed the issue in 2007. So, I wanted to
  16    make that point clear.
  17             With respect to the lack of capacity argument, I think
  18    it has become somewhat muddled in terms of what the different
  19    kind of points of inquiry are and what law one looks to for
  20    these different points of inquiry, and I think it is very
  21    important to distinguish between the first question of: What
  22    kind of entity is this? Is it a corporation? Is it a state?
  23    Is it an unincorporated association versus if it is an
  24    unincorporated association what law do we look to determine
  25    whether it has the capacity to be sued? And my opposing
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                                                                     64
        C895sok2                 argument
   1    counsel has argued that well, sure, the PLO might be an
   2    unincorporated association in a general sense, but under New
   3    York Law it is not an unincorporated association. Well, New
   4    York Law does not govern the status of the PLO or the PA under
   5    the Federal Rules of Civil Procedure. That's become a question
   6    of federal common law, the what is it.
   7             What the Federal Rules of Civil Procedure then tell
   8    you is that if the PLO is an unincorporated association, then
   9    you go to the law of the forum to determine its capacity to be
  10    sued.
  11             There is also this question that sort of comes into
  12    play that creates some confusion about, well, who are its
  13    members and did its members ratify the unincorporated
  14    association's actions. Well, we don't even get to that point
  15    because if you accept the premise that the PA and the PLO are
  16    unincorporated associations and then you go to law of the
  17    forum, New York, it tells you that the unincorporated
  18    associations cannot be sued in their own name, they have to be
  19    sued in the name of the president or the treasurer. If the
  20    plaintiffs had done that, which they didn't, then there would
  21    be the question of whether they sufficiently alleged that the
  22    members had ratified the conduct. But we don't have that, the
  23    valid complaint even moves forward because it named the PA and
  24    PLO, not the president or treasurer and the plaintiffs, even
  25    though they have been on notice since 2007 that we have this
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                                                                     65
        C895sok2                 argument
   1    lack of capacity defense and the nature of that defense, they
   2    have not sought leave to amend. They haven't filed a complaint
   3    against the president or treasurer. So, the notion that we
   4    need discovery to determine every single member of the PLO or
   5    whether every single member of the PLO ratified this action,
   6    that's putting the cart way before the horse because they don't
   7    even have, under New York Law, a valid claim to proceed on
   8    because they've sued the wrong entity, or they've sued it in
   9    its own name, I should say. So, I wanted to clarify that point
  10    as well.
  11             I also think, your Honor, that it would be a mistake
  12    to keep sort of kicking this can down the road with respect to
  13    these supplemental law claims by suggesting, well, maybe there
  14    is some other facts out there that would help us resolve this.
  15    These are, I acknowledge, sui generis organizations, the PA and
  16    the PLO, but I submit that the plaintiffs have not identified
  17    specific discovery that would help us to figure out how, under
  18    U.S. law, we are going to treat this sui generis thing that is
  19    the PA and PLO and we all sort of know in broad, general terms
  20    what they are. They want discovery on, well, I would like to
  21    see charters of every individual member of the organization to
  22    see if they've ratified it. Well, we don't get to that
  23    question. We don't get to that question because they haven't
  24    filed a suit against the president or treasurer. So, there is
  25    no reason to keep kicking this can down the road because there
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        C895sok2                 argument
   1    isn't another avenue with respect to the capacity point.
   2             With respect to the supplemental, our sort of
   3    additional argument under 1367, I understand your Honor's
   4    position that well, yes, it is complex here, but it would be
   5    complex against Israel as well and I think it is important to
   6    understand that we did raise this argument of lack of capacity
   7    back in 2007 when the statute of limitations had not run in
   8    Israel. Moreover, this is a highly -- I can't stress enough
   9    how difficult it is for the PA and the PLO to litigate complex
  10    cases in U.S. Courts and deal with the obligations of U.S.
  11    civil discovery. We have been in discovery for quite a time
  12    now, this case has been ongoing since 2004, active since 2007.
  13    We are getting -- we are getting very near the end of fact
  14    discovery. Fact discovery is set to close December 21st. And
  15    so, the PA is sort of getting there but now to open up this
  16    entire tranche of additional claims involving different sources
  17    of foreign law and requiring -- and where all the facts and the
  18    experts and the witnesses and the documents, everything is over
  19    there, so it is very expensive to litigate it here as opposed
  20    to in the region. It is very burdensome. The issues are
  21    considerable, considerable expense and delay, and it truly is
  22    already a complex case.
  23             THE COURT: Well, the PLO and PA has been involved in
  24    numerous litigation in the United States in various courts.
  25             MS. FERGUSON: Yes.
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        C895sok2                 argument
   1             THE COURT: I don't know why this is any more
   2    burdensome than any other litigation that they must expect,
   3    particularly under the ATA, to be involved in. And, as I say,
   4    even I if I accept your argument, this case doesn't go away.
   5             MS. FERGUSON: No, this case does not go away because
   6    under the statute, if a U.S. national has been injured, they
   7    have a right to bring suit here.
   8             THE COURT: So, I can't give them a more convenient
   9    forum, I can only put them into forums which is less than
  10    convenient.
  11             MS. FERGUSON: But, with respect to embarking on what
  12    would be a complicated, lengthy, burdensome process of expert
  13    discovery and litigation of numerous foreign law claims --
  14             THE COURT: If you don't, give me a scenario where you
  15    won't have to do that anyway.
  16             MS. FERGUSON: Well, they should have brought those
  17    claims in Israel.
  18             THE COURT: The only argument that I can assume you
  19    are making is that if I grant your motion, since they are
  20    time-barred in Israel, you won't have to do that again in any
  21    other forum because they will have no forum to litigate these
  22    common law claims.
  23             MS. FERGUSON: Even if Israel were to toll the statute
  24    and allow the claims to move forward.
  25             THE COURT: Then you would have double work. I mean,
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        C895sok2                 argument
   1    how does that --
   2             MS. FERGUSON: Except the experts are likely to be in
   3    the region.
   4             THE COURT: Okay.
   5             MS. FERGUSON: We will have more access to people that
   6    speak those languages in the region.
   7             THE COURT: Why is it that you don't have access to
   8    those people in the region even if you are litigating
   9    ultimately in a case here?
  10             MS. FERGUSON: Well, the PA's U.S. counsel doesn't --
  11    we don't read Arabic or Hebrew.
  12             THE COURT: That's not where it should be, that is who
  13    the lawyer should be. Get yourself some lawyers who speak
  14    Arabic or Hebrew because that is what is going to have to
  15    happen. That is not a compelling argument about the forum,
  16    that's a compelling argument about who is involved and what
  17    lawyers and support staff is involved in litigating.
  18             MS. FERGUSON: Your Honor, there is a case in front of
  19    the Supreme Court right now, the Kiobel case involving the
  20    alien tort statute where the Court is inquiring as to under
  21    what circumstances should U.S. Courts exercise jurisdiction
  22    over claims involving foreign defendants, involving foreign
  23    plaintiffs and actions that occur abroad. Now, here there is a
  24    statute that says, yes, the U.S. Court will take it if the U.S.
  25    national has been injured but now that's become the vehicle for
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        C895sok2                  argument
   1    attaching any number of other claims.
   2             THE COURT: That arise out of those incidents.
   3             MS. FERGUSON: Right, but that add even more -- that
   4    now have a U.S. Court not just adjudicating a federal statute
   5    but now you have the U.S. Court trying to decide whether under
   6    the law of the West Bank whether they actually recognize a
   7    claim for negligent infliction of emotional distress.
   8             THE COURT: You keep saying that but I haven't
   9    confronted that in this case yet and I'm not sure on what
  10    scenario you say that this Court is going to have to confront
  11    that. That has not been an issue that's raised by either
  12    party, that somehow that we are going to be trying to decide
  13    whether or not the defendants are liable under some other law
  14    other than the law -- the ATA and the law that is consistent in
  15    both New York and Israel.
  16             MS. FERGUSON: Well, that's where we keep going back
  17    to the Second Circuit case that says that the choice of law
  18    rules for torts would have the Court, as to conduct-regulating
  19    activity, apply the law where the conduct occurred. And some
  20    of the conduct here is alleged to have occurred in -- not in
  21    Israel but in the West Bank.
  22             THE COURT: Well, that issue, in all of these years,
  23    has not been raised in this Court, so now you say that you
  24    anticipate that that's what you may raise in the future and
  25    make those arguments. There is only a limited amount of
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        C895sok2                 argument
   1    consideration that I should give to the fact that you say now,
   2    Judge, send it someplace else because we think we are going to
   3    raise an issue somewhere down the line that some other law
   4    should apply other than the law we have all been talking about
   5    all of these years.
   6             MS. FERGUSON: Well --
   7             THE COURT: I mean, you have never raised that issue
   8    in this case. That issue has never been raised.
   9             MS. FERGUSON: These aren't our claims.
  10             THE COURT: That's your claim. That's your issue.
  11    They're not raising that issue.
  12             MS. FERGUSON: But the complaint, in a way it puts us
  13    at a considerable advantage because they don't say what the
  14    source of law is for these claims. They definitely don't say
  15    it is anything other than New York or Israel. They're silent
  16    on it.
  17             THE COURT: They're not silent. They specifically
  18    said in their papers it is New York or Israel and those laws
  19    are not inconsistent with each other. If you have a different
  20    position you have not raised a different position with regard
  21    to what law applies until today when we started discussing
  22    this. Anybody is going to raise that --
  23             MS. FERGUSON: Subsequent to the briefing the Second
  24    Circuit decision came out holding that it is not the place
  25    where the injury or the loss occurs that controls but the place
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        C895sok2                  argument
   1    where the conduct occurred. So, there was a recent development
   2    that came off our briefs that we alerted the Court to in a
   3    letter so that's why this has come up, because there is this
   4    recent Second Circuit case decided after the briefing that
   5    makes not the law of Israel controlling but the law where the
   6    conduct occurred.
   7              THE COURT: Well, even if I were to accept all of that
   8    argument it does not lead to the conclusion in the abstract
   9    that this case should be somewhere other than here because the
  10    majority of the activity that's at issue -- the activity that
  11    you say you want to rely upon and the situs of the activity
  12    that you say you want to rely upon is the minority of the
  13    activity that is at issue here, not the majority of the
  14    activity that is at issue here. So, you're saying that even
  15    though most of the activity affected U.S. citizens in Israel,
  16    you say because of the connection with activity that you say is
  17    attributed to the PLO or the PA in a different region should
  18    compel that the law of that region be applied. It is unlikely
  19    that you, on these facts, that that is going to be a compelling
  20    argument because that's not -- you have not even articulated
  21    that that's -- making that analysis would compel one to say
  22    that some other law other than the law of Israel or New York or
  23    the ATA should apply. You haven't even articulated such a
  24    position.
  25              MS. FERGUSON: But with respect to the plaintiff's
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        C895sok2                 argument
   1    claims that the PA and PLO's own conduct creates liability --
   2             THE COURT: That's a limited part of the claim. That
   3    is a limited -- that is not the predominant part of the claim.
   4             MS. FERGUSON: I am missing, then, what the
   5    predominant part of the claim is.
   6             THE COURT: The predominant part of the claim is the
   7    injury and death that occurred at the locations that they
   8    occurred and its effect on United States citizens. That's the
   9    primary part of the claim. That's not a sophisticated thing.
  10             You are saying that because they say the PLO made some
  11    decisions in the region that somehow that should mean that all
  12    of these claims should be decided in that region or according
  13    to that law. Now, if you want to make that argument maybe
  14    there will be appropriate time to make that argument but, right
  15    now, as an argument in the abstract, it is not a compelling
  16    argument for me to say that, you know, I should -- oh, that's
  17    too complicated in this case, it is much less complicated for
  18    some other unknown jurisdiction to go do that analysis
  19    separately even though we're litigating here, and somehow even
  20    a balance of convenience says it is more convenient for that to
  21    be done someplace else. You haven't articulated where and how
  22    it is more convenient or that there is really going to be any
  23    compelling reason, compelling evidence to indicate that the
  24    factors to consider are going weigh, somehow, more heavily
  25    somewhere else other than Israel or the United States.
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        C895sok2                 argument
   1             MS. FERGUSON: I would just encourage your Honor to
   2    review the recent Second Circuit decision because with respect
   3    to the damages issues there you do look to the place where the
   4    injury occurred and that would be Israel.
   5             THE COURT: You want me to review --
   6             MS. FERGUSON: The Second Circuit decision.
   7             THE COURT: I'm aware of the Second Circuit Licci
   8    decision. Very familiar with it, even before it was a Second
   9    Circuit decision.
  10             MS. FERGUSON: I understand, your Honor.
  11             THE COURT: I know what the issue is and I know the
  12    limited issue that they addressed and I know the more broader
  13    issue that I had to address before they got it and I don't
  14    think that that changes, at all, my analysis here. Matter of
  15    fact, it is very consistent with my analysis here. If you were
  16    standing here making an argument that you could articulate a
  17    basis to conclude that this litigation is more appropriate
  18    someplace else or some law is more appropriate to apply, then
  19    the laws that we have been discussing, then that would advance
  20    that argument. But, to argue in the abstract, well, we are
  21    going to argue at some point that maybe there is connections
  22    with the different region and that other laws might be laws
  23    that can be considered, that doesn't get you over the hurdle of
  24    trying to convince me on this record that I'm aware of at this
  25    point that somehow this is more appropriate for a region or to
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        C895sok2                  argument
   1    apply some laws that are different than either the laws of the
   2    United States, New York, or Israel; I just haven't articulated
   3    the compelling place or set of laws that should apply instead
   4    of those.
   5              MS. FERGUSON: I didn't know if it would be useful to
   6    have a briefing on some of these choice of law issues.
   7              THE COURT: If that becomes relevant at the
   8    appropriate time. That's usually my response.
   9              MS. FERGUSON: Our foremost argument is the lack of
  10    capacity argument, so thank you, your Honor.
  11              THE COURT: You're welcome.
  12              MR. SCHOEN: May I have a minute, your Honor?
  13              THE COURT: Okay. I will give you one minute.
  14              MR. SCHOEN: Your Honor, just in brief response.
  15              I'm not sure how the last thing fits in with not
  16    kicking the can down the road but, in any event, I know
  17    Ms. Ferguson is trying but the idea here, it is just
  18    transparent. They have different experts in the region. There
  19    is no special expert for Varda Guetta. There are other mothers
  20    in the case who suffered the kind of injury and damage.
  21    They're the same experts, that's the whole point here why we
  22    don't dismiss the case here, it is the same trial.
  23              THE COURT: I thought she was moreso -- maybe I am
  24    incorrect, moreso referring to experts on what law would apply
  25    rather than experts.
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        C895sok2                 argument
   1             MR. SCHOEN: Those were two different subjects. She
   2    raised that and then raised this and because she said how
   3    difficult it is for them to conduct discovery in the United
   4    States. That's an argument for Congress. They're conducting
   5    the same discovery -- we have the ATA. Congress made that
   6    decision and the Licci case, again, nobody is going to tell the
   7    Court about that case, the Court knows the case better than
   8    anyone, but that has to do with the American Express Bank
   9    there, their only role in the case was transactions. That's
  10    not someone situated like Ms. Guetta or these other people
  11    because that case is already here. Are you trying that other
  12    case? In that case are you not otherwise trying a bank
  13    transaction case? The facts of this case are the facts of this
  14    case and that doesn't change whether these plaintiffs are in it
  15    or these state law claims are in it.
  16             By the way, the idea of this Palestinian law and that
  17    they can just throw this out there again, we have lost all
  18    concept of burdens here. Again, they are the law. If there is
  19    law that's inconsistent or in conflict with New York or Israeli
  20    law, they should have told you that. It probably isn't,
  21    frankly, because of the mandated authority that operated there
  22    but I don't know, we don't need to guess. It is not an issue
  23    in this case.
  24             Anyway, thanks, Judge.
  25             THE COURT: This is what I am going to do because I
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        C895sok2                 argument
   1    think it is time to move this case forward so I am going to
   2    rule today on both of these motions.
   3             With regard to the defendant's motion I'm going to
   4    deny defendant's motion. I think that in this case that it is
   5    inappropriate at this stage of the proceeding to grant the
   6    defendant's motion to dismiss for lack of capacity on this
   7    record. I will do so without prejudice to revisit this issue
   8    on a record after discovery.
   9             This is an affirmative defense. It is the burden of
  10    the defendant to prove this defense and it is the burden of the
  11    defendant to demonstrate on what evidence they intend to prove
  12    this defense of a lack of capacity either on summary judgment
  13    or before -- quite frankly, I'm not even sure that I can
  14    imagine a situation where this is a jury question but, you
  15    know, if there are factual disputes it could be possibly. But,
  16    clearly, it is the defendant's burden to prove its affirmative
  17    defense and having that burden the defendant can't simply rely
  18    on the pleadings or prior litigation. It must specifically
  19    point to evidence on which they say indisputably demonstrates
  20    that affirmative defense to the exclusion of any other
  21    conclusion. At this stage of the proceeding defendants have
  22    not done that nor are they in a position because no discovery
  23    is -- even outstanding discovery requests have not -- related
  24    to this issue have not yet been responded to.
  25             So, on this record I think it is inappropriate for me
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        C895sok2                 argument
   1    to dismiss this case based on any finding that the defendant
   2    has demonstrated and met its burden to demonstrate its
   3    affirmative defense of lack of capacity when there is no
   4    evidence in this record, there has been no discovery in this
   5    case, there isn't even an articulable set of facts that have
   6    been developed in this case for me to make a decision that
   7    these sets of facts demonstrate the affirmative defense of lack
   8    of capacity without disputed evidence and leading to only one
   9    conclusion for that, the PLO lacks the capacity and the PA
  10    lacks the capacity to sue and be sued on New York Law. In
  11    fact, the defendants even raised an additional issue by the
  12    discussion today with regard to which actual law applies. So,
  13    if the issue is to be whether or not and it is argued that
  14    somehow I should decline to assert jurisdiction over these
  15    claims because it is a complicated issue to determine which law
  16    applies with regard to non-federal ATA claims, then it is
  17    obviously I am not in a position if I can't even determine at
  18    this point that, which laws apply with regard to these claims
  19    that somehow the defendant has already met its burden to
  20    demonstrate that it has an affirmative defense with regard to
  21    the applicability of New York Law. One cannot argue that some
  22    other law other than New York Law would apply, might apply with
  23    regard to this or other issues and then say at the same time
  24    that indisputably they have a lack of capacity to be sued
  25    because New York Law says that they cannot be sued as an
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        C895sok2                 argument
   1    unincorporated association. If the defense wishes to prove
   2    that affirmative defense and establish that affirmative
   3    defense, then they have an obligation to exchange this
   4    information and the evidence on that that they intend to rely
   5    upon, the specific evidence that they intend to rely upon, and
   6    then they have an obligation to meet their burden of proof to
   7    demonstrate that they are in fact what they wish this Court to
   8    conclude at this stage without any evidence in the record
   9    that's been developed during this litigation, that they are in
  10    fact an unincorporated association. As I stated, I think it is
  11    inappropriate for me to simply say that such a determination
  12    that that burden is met simply because Courts in other
  13    litigation, first with regard to specific issues that the Court
  14    was addressing, even with regard to similar issues that have
  15    been addressed in this Court, have made a determination that
  16    for the purpose of those issues that they would accept that as
  17    having a premise and that may prove, in this case, I see no
  18    evidence which I can review which gives me basis to understand
  19    that any Court has gone through an analysis -- a factual
  20    analysis with regard to the nature of the PA and the PLO, its
  21    establishment and its organization to articulate on what facts
  22    that an independent objective conclusion is to be made, that it
  23    is an unincorporated association and that its status is an
  24    unincorporated association would preclude their bringing
  25    non-federal claims under New York or Israeli law.
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        C895sok2                 argument
   1             So, I'm going to deny that motion because the
   2    defendant is not able to demonstrate, based on this record at
   3    this stage of the proceeding, that they have indisputably an
   4    affirmative defense of lack of capacity that would preclude
   5    liability in this case.
   6             Also, I am denying the application and decline to
   7    assert ancillary pending jurisdiction over the nonfederal
   8    claims. In this case, given all the consideration of what
   9    factors to consider with regard to assertive or decline to
  10    assert jurisdiction, primarily any issues that are
  11    determinative here that makes no sense to turn this one case
  12    into more than one case in more than one jurisdiction. There
  13    is no compelling argument for me to do that. The only
  14    compelling argument to, which would give me a scenario that's
  15    different than that is that, as I say as I heard it in a movie,
  16    to get one big falling object and turn it into a number of big
  17    falling dangerous objects isn't a compelling argument.
  18             The only argument that this would somehow simplify
  19    rather than complicate for all parties and -- the argument that
  20    this would put a lesser burden than a greater burden on any of
  21    the parties would simply be the argument that I should decline
  22    jurisdiction because it would preclude the plaintiffs from
  23    pursuing these claims in any jurisdiction because of the
  24    statute of limitations. Again, that is not a compelling
  25    argument for me to decline jurisdiction if I know that it
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        C895sok2                 argument
   1    simply denies the plaintiff the forum that they have already
   2    chosen and they have no reasonable alternative of forum at this
   3    point to resolve these issues and they have a legal right to
   4    resolve those issues in this forum. If they have a legal right
   5    to resolve these issues in this forum it is not compelling to
   6    say that I should decline jurisdiction knowing that they will
   7    be denied the right to go in an alternative forum because the
   8    statute of limitations has already run.
   9             All of your arguments made with regard to the
  10    complication of proceeding with these issues and resolving
  11    these other issues, whether they would be in conflict of law
  12    issues or issues of practical discovery and trial, I think that
  13    this Court will be, whatever issues that this Court is
  14    confronted with in court, any additional Court that has to deal
  15    with those issues separately are going to also have to be
  16    confronted with.
  17             So, I think that this Court, particularly since they
  18    are ATA claims and there are ATA claims which will not go away
  19    and those claims arise out of the same set of facts and actions
  20    which underlie all of the other claims and there is no related
  21    claims that don't arise out of the same set of facts, the most
  22    efficient and effective way to resolve the issues and the
  23    claims that arise out of the activities at issue is in one
  24    lawsuit in one jurisdiction and not in duplicate lawsuits in
  25    different jurisdictions simply because they're alleged as
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        C895sok2                  argument
   1    different causes of action in different jurisdictions under
   2    different law.
   3             So, I am going to deny both the motion for partial
   4    summary judgment -- I mean motion for judgment on the pleadings
   5    and I'm going deny the motion to assert jurisdiction over the
   6    pending ancillary claims.
   7             There is also a motion -- I believe that there was
   8    also a motion by the plaintiffs to, alternatively, to convert
   9    this into a Rule 56 motion. I think that that is inappropriate
  10    at this stage of the proceeding. The defendants have not moved
  11    on the basis of independent evidence that's been disclosed in
  12    discovery. Both sides have clearly given indication and
  13    particularly the plaintiffs have given an indication that there
  14    is significant other evidence that they would be entitled to
  15    review in this issue to combat or to determine whether or not
  16    the defendants can assert the affirmative defense and so I
  17    think that given the status of discovery and the nature of this
  18    issue, that it would be inappropriate to convert this to any
  19    other motion and the motion as it was stated.
  20             With regard to the plaintiff's motion to strike, I'm
  21    going to deny that motion. I think with regard to the issues
  22    that have already been resolved a motion to strike is
  23    unnecessary and is not appropriate spending time and effort on
  24    that.
  25             With regard to the motion to strike based on waiver or
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        C895sok2                 argument
   1    and/or failure to state -- sufficiently state the affirmative
   2    defenses, I find that the affirmative defenses, as alleged,
   3    have articulated what the nature of the affirmative defenses
   4    are and sufficiently put the defendant -- the plaintiff on
   5    notice as to what affirmative defenses, the nature of those
   6    affirmative defenses, and to the extent that there is a
   7    question about the underlying facts which would support those
   8    affirmative offenses, I believe that is appropriate for
   9    discovery. There it already has been the subject of discovery
  10    requests and those issues are to be resolved in discovery. To
  11    the extent that defendant does not wish to engage in discovery
  12    in those issues that are relevant to any of the affirmative
  13    defenses, then they can withdraw those affirmative defenses or
  14    those affirmative defenses can be precluded.
  15             So, I think that the appropriate thing is to move
  16    forward efficiently with discovery at this point. I think that
  17    I am not satisfied with the pace of discovery. I think I told
  18    Magistrate Judge Ellis that I expected him to be firm with
  19    discovery. I have also indicated to him that any position, if
  20    I deny the motions that are on standing here, my issue is going
  21    to be that any position is going to be that other than one
  22    summary judgment motion after the close of discovery, there are
  23    to be no other motions filed without first a pre-motion
  24    conference with Magistrate Judge Ellis, and that pre-motion
  25    conference must be preceded by no more than a two-page letter
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        C895sok2                 argument
   1    indicating what the nature of the motion is that the parties
   2    believe are appropriate at this stage of the proceeding and the
   3    nature of the motion and the underlying basis for the motion
   4    and why the motion is timely made and is not premature in
   5    discovery motion.
   6             I think that the motions that have been made, there
   7    have been too many piecemeal motions and I think one issue that
   8    we have discussed and I think that primarily some is probably
   9    even related to the plaintiff's motion to strike in an attempt
  10    to preclude piecemeal, untimely motion, I will be able to
  11    preclude that from all parties at this stage of the proceeding.
  12    All the motions to dismiss should have been made. If they have
  13    not been made I think you need to have a pre-motion conference
  14    with the magistrate judge and give him that letter and tell him
  15    what motion you intend to make and tell him why that motion is
  16    not untimely or premature short of completion of discovery and
  17    summary judgment.
  18             So, the parties should move forward to complete
  19    discovery, move forward in anticipation of full summary
  20    judgment briefing if that's the step to take after discovery,
  21    and to anticipate that you will be spending, devoting your time
  22    to completing discovery on these issues for the rest of the
  23    year rather than engaging in further motions generating other
  24    pleadings or generating other claims or affirmative defenses.
  25             So, what I am going to do is I am going to schedule
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        C895sok2                 argument
   1    before me -- discovery is supposed to be completed in December.
   2    I am going to schedule before me a conference January 17th at
   3    10:00. We may not have to meet on that date. If things move
   4    efficiently I would anticipate that you would be complete with
   5    discovery by then and you can agree upon a motion schedule for
   6    full summary judgment submission and you can give me that
   7    schedule and then I can, unless there are other issues to be
   8    addressed on January 17th, we can move that date until after
   9    the summary judgment motion is fully submitted and if you want
  10    to be heard on summary judgment motion.
  11             So, as I say, I am going to have further conversation
  12    with Magistrate Judge Ellis to make sure that things are moving
  13    efficiently and that he makes sure that they're moving
  14    efficiently. If, for some reason, there are some applications,
  15    letter applications that are submitted to Magistrate Judge
  16    Ellis and he holds a pre-motion conference and he determines
  17    that it is a timely and not premature motion that should be
  18    addressed in substance on its merits, then he can indicate to
  19    me the nature of that motion and I will grant him the authority
  20    to tell the parties to go ahead and brief that issue for me or
  21    for him or make an independent determination based on my review
  22    of the nature of the letter response -- the letter and response
  23    and the record before him at the conference whether or not
  24    that's a motion that is both ripe and timely to be made in this
  25    case.
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        C895sok2                 argument
   1             Otherwise, I will see the parties on January 17th at
   2    10:00 and we will see where we are at that point in time. If
   3    any issues arise with regard to discovery, they should be
   4    raised in writing right away with Judge Ellis. If we need to
   5    meet again before that time let me know and I will schedule a
   6    conference before me to address any issues that need to be
   7    addressed before that time. But, otherwise, I will instruct
   8    Magistrate Judge Ellis to make sure the parties are on schedule
   9    and move forward efficiently and resolve quickly an issue that
  10    might otherwise delay the completion of discovery in this case.
  11             Is there anything else we need to address?
  12             MR. SCHOEN: No, your Honor.
  13             THE COURT: Anything else by defense?
  14             MS. FERGUSON: No, your Honor.
  15             THE COURT: Thank you, and I will see you, and good
  16    luck and I will talk to Magistrate Judge Ellis as soon as I get
  17    off the bench.
  18             MR. SCHOEN: Thank you.
  19             MS. FERGUSON: Thank you.
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